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 7
                            UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9                               SOUTHERN DIVISION

10   IN RE: KIA HYUNDAI VEHICLE                  No. 8:22-ML-03052-JVS-KES
     THEFT MARKETING, SALES
11   PRACTICES, AND PRODUCTS                     The Honorable James V. Selna
     LIABILITY LITIGATION
12                                               SUPERSEDING CONSOLIDATED
                                                 OHIO GOVERNMENTAL ENTITIES
13                                               COMPLAINT
14
                                                 JURY TRIAL DEMANDED
15

16
17   This document relates to:
      City of Columbus, Ohio v. Kia America,   City of Cleveland v. Hyundai
18    Inc. and Hyundai Motor America,          Motor America and Kia America,
      Case No. 8:23-CV-01001                   Inc., Case No. 8:23-CV-00419
19

20    City of Cincinnati v. Hyundai            City of Lorain, Ohio v. Hyundai Motor
      Motor America and Kia America,           Company et al.,
21    Inc., Case No. 2:23-CV-01750             Case No. 8:23-CV-02083
22    City of Parma v. Hyundai Motor
23    America and Kia America, Inc.,
      Case No. 8:23-CV-01374
24
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 1                                   I.    INTRODUCTION

 2         1.     The days of “hotwiring” cars with nothing more than a screwdriver are

 3   largely over. In most recent car models, the ignition key emits a radio signal that prompts

 4   a computer in the car to disengage an immobilizer device and allows the car to start and

 5   move. But recent Hyundai and Kia models are a glaring exception.

 6         2.     For all model years between 2011 and 2022, long after other carmakers

 7   adopted immobilizer technology that ensured car ignitions could not be started without

 8   their keys, Defendants Hyundai Motor Company (“HMC”), Hyundai Motor America

 9   (“HMA” and, with HMC, collectively “Hyundai”), Kia Corporation (“KC”), and Kia

10   America, Inc. (“KA” and, with KC, collectively “Kia”) intentionally ignored industry-

11   standard practices in the name of profit. Specifically, upon information and belief, at all

12   relevant times, Defendants designed, manufactured, and distributed the following

13   automobile models without engine immobilizers or other reasonable anti-theft technology:

14   Hyundai Accent, Elantra, Elantra GT, Elantra Coupe, Elantra Touring, Genesis Coupe,

15   Kona, Palisade, Santa Fe, Santa Fe Sport, Santa Fe XL, Sonata, Tucson, Veloster, Venue,

16   and Veracruz; and the Kia Forte, K5, Optima, Rio, Sedona, Seltos, Sorento, Soul, and

17   Sportage. These vehicles, when manufactured and sold without engine immobilizers or

18   other reasonable anti-theft technology, are referred to hereinafter as the “Susceptible

19   Vehicles.”

20         3.     As a result, online videos demonstrate how easy it is to steal Hyundai and

21   Kia vehicles. In many cases, thieves use tools no more advanced than a USB cable.

22   Hyundai’s and Kia’s business decisions to reduce costs, and thereby boost profits, by

23   forgoing common or other reasonable anti-theft technology have resulted in a dangerous

24   increase in thefts of the Susceptible Vehicles. This has significantly impacted law

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 1   enforcement operations and emergency services in Columbus, Cleveland, Cincinnati,

 2   Lorain, and Parma, Ohio (collectively, the “Ohio GE Plaintiffs”).

 3           4.    In the 1960s and 1970s, all that was needed for a successful vehicle heist was

 4   a little brute force (to crack open the ignition column) and a key-shaped object to start the

 5   car and drive off within seconds. Thanks to modern technology, this is no longer the case

 6   for most cars.

 7           5.    Hyundai and Kia are unique among automobile manufacturers in failing to

 8   install engine immobilizers or other reasonable anti-theft technology in most of their cars.

 9   This is not because the technology is somehow beyond them—in fact, Hyundai and Kia

10   vehicles sold in the European and Canadian markets incorporate vehicle immobilizers

11   because regulations there expressly require them.

12           6.    The difference between the proportion of Hyundai and Kia vehicle models

13   with immobilizers compared to all other manufacturers is staggering: for the 2015 model

14   year, for example, only 26% of Hyundai and Kia vehicles in the United States were

15   equipped with immobilizers, compared to 96% of vehicles from all other manufacturers.1

16           7.    Hyundai and Kia are aware of the well-documented benefit of immobilizer

17   technology in preventing thefts, as they opted to install engine immobilizers in their

18   higher-end models, and in all of their 2023 vehicles.

19           8.    Hyundai’s and Kia’s decisions have had devastating consequences for the

20   Ohio GE Plaintiffs. Defendants’ failure to install an industry-standard immobilization

21   anti-theft device or other reasonable anti-theft technology, notwithstanding decades of

22

23
     1
         Hyundai and Kia theft losses, 38 HLDI Bull. 28, 2 (Dec. 2021),
24       https://www.iihs.org/media/0e14ba17-a3c2-4375-8e66-
         081df9101ed2/opm7QA/HLDI%20Research/Bulletins/hldi_bulletin_38-28.pdf.
                                                 2
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 1   academic literature and research supporting the deterrent effects of such technology,2 has

 2   opened the floodgates to increased vehicle theft.

 3            9.    The economic losses incurred by the Ohio GE Plaintiffs could have been

 4   avoided had Hyundai and Kia followed industry-wide standards and installed immobilizer

 5   devices or other reasonable anti-theft technology in the Susceptible Vehicles.

 6            10.   The Ohio GE Plaintiffs, among other economic losses, have been forced to

 7   divert funds and personnel to combat the growing burden caused by increased Hyundai

 8   and Kia vehicle thefts.

 9                             II.    JURISDICTION AND VENUE

10                   A.    Subject Matter Jurisdiction

11            11.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(a),

12   as the amount in controversy exceeds $75,000 and there is complete diversity between the

13   parties. The cities of Columbus, Cleveland, Cincinnati, Lorain, and Parma are regarded as

14   citizens of the State of Ohio for the purposes of diversity jurisdiction. Bullard v. City of

15   Cisco, Texas, 290 U.S. 179, 187 (1933). Defendants HMA and KA are citizens of the State

16   of California, where they are headquartered and incorporated. Defendants HMC and KC

17   are both multinational automakers, headquartered in Seoul, South Korea.

18

19

20   2
         See, e.g., Petition for Exemption From the Vehicle Theft Prevention Standard; Hyundai-
         Kia America Technical Center, Inc., 72 Fed. Reg. 39,661 (July 19, 2007),
21
         https://www.govinfo.gov/content/pkg/FR-2007-07-19/pdf/FR-2007-07-19.pdf; see also
22       Petition for Exemption From the Vehicle Theft Prevention Standard; Hyundai-Kia
         America Technical Center, Inc., 75 Fed. Reg. 1,447-03 (Jan. 11, 2010),
23       https://www.govinfo.gov/content/pkg/FR-2010-01-11/pdf/2010-236.pdf (NHTSA notice
         granting an identical exemption for the Kia Amanti vehicle line beginning in model year
24       2009 based on the representation that the immobilizer installation for that specific
         model should substantially reduce theft rates).
                                                    3
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 1                  B.    Personal Jurisdiction

 2           12.   This Court has general personal jurisdiction over HMA and KA because they

 3   are incorporated and headquartered in the State of California. Defendants have transacted

 4   and done business in the State of California and in this judicial district.

 5           13.   This Court has specific jurisdiction over HMC and KC under the long-arm

 6   statute of California based on (1) their forum-related activities from which this case arises;

 7   (2) the forum-related activities of HMC’s primary domestic subsidiary, HMA, which

 8   HMC substantially controls; and (3) the forum-related activities of KC’s primary domestic

 9   subsidiary, KA, which KC substantially controls.

10                 1.     HMC’s and KC’s Forum-Related Activities

11           14.   HMC is a South-Korea based company, and its substantial activities directed

12   at the United States give rise to and relate to the Ohio GE Plaintiffs’ claims.

13           15.   In a complaint to enforce its trademark rights, HMC represented that it

14   “currently designs, manufactures, markets, distributes, and sells a wide range of

15   automobile and related automobile parts to over 190 countries throughout the world,

16   including the United States, under the trademark ‘Hyundai.’”3

17           16.   HMC and KC design, manufacture, market, distribute, and sell the

18   Susceptible Vehicles under their registered trademarks “Hyundai” and “Kia,”

19   respectively. Between 2011 and 2022, when the Susceptible Vehicles were sold and

20   distributed in the Ohio GE Plaintiffs’ respective jurisdictions, HMC and KC purposefully

21   availed themselves of the United States’ legal protections by registering and maintaining

22   registrations with the United States government for trademarks associated with their

23

24   3
         First Amended Complaint at 6, Hyundai Motor Am., Inc. v. Midwest Indus. Supply Co.,
         No. 2:17-cv-3010-JCM-GWF (D. Nev. Nov. 21, 2018), ECF No. 34.
                                                4
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 1   vehicles and parts, which HMC and KC used to identify and distinguish its vehicles and

 2   parts in the United States, this district, and transferor jurisdictions.

 3         17.    HMC and KC purposefully availed themselves of markets in the United

 4   States as each company sold approximately 500,000 vehicles per year in this market

 5   through their respective domestic subsidiaries, HMA and KA.

 6         18.    HMC and KC manufactured over eight million of the Susceptible Vehicles,

 7   which were delivered to HMA and KA for sale in the United States. Upon information

 8   and belief, HMC and KC manufactured the majority of the Susceptible Vehicles overseas

 9   in South Korea. However, HMC and KC segregated the Susceptible Vehicles intended for

10   sale in the United States and shipped those vehicles to the United States with full

11   knowledge that HMA and KA would distribute them across the country.

12         19.    Rather than passively placing the Susceptible Vehicles into the stream of

13   commerce, HMC and KC intentionally targeted the distribution of the Susceptible

14   Vehicles into United States markets specifically, because engine immobilizers are not

15   expressly required by law to sell the vehicles in this country.

16         20.    HMC and KC played instrumental roles in HMA’s and KA’s analysis and

17   decision-making processes related to the design and/or manufacture of the Susceptible

18   Vehicles lacking engine immobilizers sold in the United States.

19         21.    Upon information and belief, HMC and KC both were involved in monitoring

20   vehicle thefts of the Susceptible Vehicles, as reported by their respective subsidiaries,

21   HMA and KA.

22                2.     HMC’s and KC’s Control Over Their Respective Subsidiaries

23         22.    HMC and KC exercise control over HMA and KA, respectively, through both

24   formal and informal means.

                                                    5
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 1          23.    Upon information and belief, HMC and KC possess the power to appoint

 2    board members to HMA and KA, respectively, and both HMC and KC have exercised this

 3    power.

 4          24.    HMC and KC purposely availed themselves of markets in the United States

 5    by regularly submitting applications to the Environmental Protection Agency to obtain

 6    certification required for the sale of their vehicles in the United States.4

 7          25.    HMC operates a “Global Command and Control Center” with “walls covered

 8    with television screens and computer monitors” that track “every operating line at 27

 9    plants in the world, in real time, 24 hours a day, 365 days a year.”5

10          26.    The production chief for a Hyundai plant in Alabama noted that if there is “a

11    hiccup at any of those boards, headquarters wants to know what needs to be done about

12    it—right now[.]”6

13          27.    Upon information and belief, KC representatives similarly monitor Kia’s

14    global operations from HMC’s Global Command and Control Center.

15

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      4
18      See, e.g., Letter from Hyundai America Technical Center to Director Linc Wehrly re:
        Request for GHG credit for High Efficiency Alternator Technology (June 10, 2019),
19      https://www.epa.gov/sites/default/files/2019-07/documents/kmc-off-cycle-ghg-credit-
        high-efficiency-alternator-2019-06-10.pdf (writing on behalf of KC, f/k/a Kia Motors
20      Corporation; see also Letter from Hyundai America Technical Center to Director Linc
        Wehrly re: Request for GHG Off-Cycle Credit for HVAC Brushless Motor Technology
21
        in 2020 Model Year and later HMC vehicles (Dec. 15, 2020),
22      https://www.epa.gov/system/files/documents/2022-09/hyundai-ghg-credit-pwm-hvac-
        blm-apl-2020-12-15.pdf.
23    5
        William J. Holstein, Hyundai’s Capabilities Play, 70 Strategy & Bus. 62, 67–68 (Spring
        2013), https://digitaledition.strategy-
24      business.com/publication/?m=6320&i=145911&p=70&ver=html5.
      6
        Id. at 68.
                                                   6
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 1            28.     Senior South Korean executives for HMC and KC also regularly visit

 2    Hyundai and Kia plants and offices throughout the United States, including HMA’s and

 3    KA’s California headquarters, both of which are located in this district.

 4            29.     The common executives for HMC and HMA frequently overlap. Jose Muñoz,

 5    for example, is the current Global Chief Executive Officer of HMC and serves as the

 6    President and CEO of HMA. Meanwhile, Brian Latouf serves as the President and Global

 7    Chief Safety and Quality Officer for Hyundai Motor Group and Chief Safety Officer of

 8    HMA.

 9            30.     KC and KA also share executive employees. SeongKyu (Sean) Yoo serves

10    as President and CEO of KA, as well as Senior Managing Director of KC.

11            31.     Last, HMC and KC control the public name and brand of HMA and KA,

12    respectively.

13                    C.     Venue

14            32.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because

15    Defendants transact substantial business in this district. Venue is also proper for HMA and

16    KA because they are headquartered here, have research and development offices here, and

17    a substantial part of the events/omissions giving rise to the claims occurred in this district.

18                                           III.   PARTIES

19                    D.    The Ohio GE Plaintiffs

20                          1.     Columbus, Ohio

21            33.     Plaintiff the City of Columbus (“Columbus”) is a municipal corporation

22    organized under Ohio Law.7 Columbus has all of the powers of local self-government and

23    home rule and all other powers possible for a city to have under the constitution and laws

24
      7
          See Ohio Const., art. XVIII § 7 (1912).
                                                     7
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 1    of the State of Ohio, which are exercised in the manner prescribed by the charter of the

 2    City of Columbus.8 Columbus is the capital and largest city in the State of Ohio and is

 3    predominantly located within Franklin County, Ohio. It is the fifteenth largest city in the

 4    United States, with a population of approximately 905,528 people. More than 2.1 million

 5    people live in the Columbus metropolitan area. Columbus’s principal offices are located

 6    at 77 North Front Street, Columbus, Ohio.

 7                         2.    Cleveland, Ohio

 8            34.   Plaintiff the City of Cleveland (“Cleveland”) is a municipal corporation

 9    organized and chartered pursuant to Article XVIII, Section 7 of the Ohio Constitution.

10    Cleveland has all the powers of local self-government and all other powers possible for a

11    city to have under the Constitution of the state of Ohio, and the laws of the State of Ohio,

12    which are exercised in the manner prescribed by the Charter of the City of Cleveland.

13    Cleveland is located in Cuyahoga County, Ohio, and has approximately 370,000 residents.

14    Cleveland’s principal offices are located at 601 Lakeside Avenue East, Cleveland, Ohio.

15                         3.    Cincinnati, Ohio

16            35.   Plaintiff the City of Cincinnati (“Cincinnati”) is a home-rule municipal

17    corporation chartered under Article XVIII, Section 7 of the Ohio Constitution and acting

18    pursuant to the Charter of the City of Cincinnati, through its City Solicitor. Cincinnati is

19    located in Hamilton County, Ohio, and has approximately 310,000 residents. Cincinnati’s

20    principal offices are located at 801 Plum Street, Cincinnati, Ohio.

21                         4.    Lorain, Ohio

22            36.   Plaintiff the City of Lorain (“Lorain”), is a municipal corporation organized

23    under the laws of the State of Ohio. The City of Lorain is located in Lorain County, Ohio.

24    8
          See Charter of the City of Columbus, pursuant to Ohio Rev. Code Ann. § 715.01 (West
          2023).
                                                   8
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 1             37.   The City of Lorain is the third-largest city in the Greater Cleveland area and

 2    had a population of 65,211 residents as of the 2020 Census.9 Lorain’s principal offices are

 3    located at 200 West Erie Avenue, Lorain, Ohio.

 4                         5.     Parma, Ohio

 5             38.   Plaintiff the City of Parma (“Parma”) is a municipal corporation organized

 6    pursuant to Article XVIII, Section 7 of the Ohio Constitution. Parma has all the powers of

 7    local self-government and all other powers possible for a city to have under the

 8    constitution of the State of Ohio, and the laws of the State of Ohio. Parma is located in

 9    Cuyahoga County, Ohio, and has approximately 80,000 residents. Parma’s principal

10    offices are located at City Hall, 6611 Ridge Road, Parma, Ohio.

11                   E.    Defendants

12                         1.     Hyundai Motor Company

13             39.   Defendant Hyundai Motor Company is a multinational automaker

14    headquartered in Seoul, South Korea. HMC, together with Defendants Kia Corporation,

15    Kia America, Inc., and Hyundai Motor America, comprise the Hyundai Motor Group,

16    which designs, manufactures, and distributes the Susceptible Vehicles referenced in this

17    Consolidated Complaint. HMC is the parent corporation of Hyundai Motor America.

18                         2.     Hyundai Motor America

19             40.   Defendant Hyundai Motor America is an automobile designer, manufacturer,

20    distributor, and/or servicer of new motor vehicles under the Hyundai brand doing business

21    within the United States. HMA is incorporated and headquartered in the State of

22    California. HMA’s principal place of business is located at 10550 Talbert Avenue,

23
      9
          Quick Facts, Lorain city, Ohio, U.S. Census Bureau,
24        https://www.census.gov/quickfacts/fact/table/loraincityohio/PST045222 (last visited
          June 30, 2025).
                                                    9
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 1    Fountain Valley, California. HMA distributes, markets, leases, warrants, and oversees

 2    regulatory compliance and warranty claims for Hyundai brand vehicles through a network

 3    of over 800 dealers throughout the United States from its headquarters in California.

 4    Defendant HMA engages in continuous and substantial business in California.

 5                       3.      Kia Corporation

 6          41.    Defendant Kia Corporation is a multinational automaker headquartered in

 7    Seoul, South Korea. KC is the parent corporation of Kia America, Inc. As of December

 8    31, 2017, Defendant KC’s largest shareholder is HMC, which holds 33.88% of KC’s

 9    stock.10

10                       4.      Kia America, Inc.

11          42.    Defendant Kia America, Inc. is a manufacturer and distributor of new motor

12    vehicles under the Kia brand and is incorporated and headquartered in the State of

13    California. KA’s principal place of business is located at 111 Peters Canyon Road, Irvine,

14    California. KA distributes, markets, leases, warrants, and oversees regulatory compliance

15    and warranty claims for Kia-brand vehicles through a network of over 700 dealers

16    throughout the United States from its headquarters in California. Defendant KA engages

17    in continuous and substantial business in California.

18                         IV.    THE KIA HYUNDAI THEFT WAVE

19                 A.    Measures to Prevent Vehicle Thefts Exist

20          43.    An industry-standard engine immobilizer “locks out the engine control

21    module if an attempt is made to start the vehicle without the correct key or to bypass the

22

23
      10
        The Future: Kia Motors Annual Report 2017 at 11, Kia, https://worldwide.kia.com/int
24     /company/ir/archive/annual-report/download/B200002757/F200012579 (last visited
       June 30, 2025).
                                               10
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 1    electronic ignition system.”11 Defendants’ choice not to use this industry-standard anti-

 2    theft technology or other reasonable anti-theft technology predictably led to increased

 3    theft of the Susceptible Vehicles.

 4          44.    In the late 1980s and early 1990s, vehicle theft increased dramatically in the

 5    United States.12 The most common method for stealing a car involved bypassing the

 6    motor’s ignition switch, otherwise known as “hotwiring.” The graph below illustrates the

 7    dramatic rise in car thefts during this time period.13

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15
                    Vehicle thefts per 10,000 vehicles in operation, and vehicle
16                       theft arrests per 100,000 population, 1960-2014
            45.    To respond to this growing problem, manufacturers began installing passive
17

18    vehicle immobilizers, which were patented in 1993.14 Unlike Evans and Birkenbeuel’s
      invention nearly 75 years prior, the vehicle immobilizer would render the engine operable
19

20

21    11
         Jacqueline Glassman, Interpretation ID : GF005229-2, NHTSA (Sept. 24, 2004),
22      https://www.nhtsa.gov/interpretations/gf005229-2.
      12
         Anthony Dixon & Graham Farrell, Age-period-cohort effects in half a century of motor
23      vehicle theft in the United States, 9 Crime Sci. 17 at 1, 3 (2020),
        https://crimesciencejournal.biomedcentral.com/articles/10.1186/s40163-020-00126-5.
24    13
         Id. at fig. 1.
      14
         Int’l Patent Publication No. WO 93/13968 (filed Jan. 7, 1993).
                                                   11
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 1    only “if the correct key having coded information is used[,]” rather than relying on

 2    concealed switches or memorizing keypad combinations.15

 3          46.    In essence, the vehicle immobilizers of the 1990s worked by checking the

 4    “fingerprint” of a car key based on electronic codes the key sends to the vehicle. They

 5    prevented hotwiring by ensuring that a car would not start if the key was not present—

 6    whether or not the ignition switch was turned or bypassed.

 7          47.    Although the mechanism behind the vehicle immobilizer was more intricate

 8    than the original 1919 invention, the overall purpose remained the same: “to make the

 9    vehicle more difficult to steal.”16

10          48.    The invention proved successful and, less than five years later, the European

11    Union mandated that all new passenger cars from 1998 onward be equipped with an

12    electronic engine immobilizer.17 Similar mandates soon followed in Australia, New

13    Zealand, and Canada.

14          49.    As engine immobilizers became the industry standard among manufacturers,

15    at least one study in the Netherlands suggested that immobilizers “lowered the overall rate

16    of car theft on average by about 50 percent during 1995-2008.”18

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      15
         Id.
21    16
         Id.
      17
22       Commission Directive 95/56/EC, 1995 O.J. (L286) 1 (amending Council Directive
        74/61/EEC to require the installation of immobilizers and alarm systems in motor
23      vehicles beginning in October 1998).
      18
         Jan C. van Ours & Ben Vollaard, The Engine Immobiliser: A Non-Starter for Car
24      Thieves, TILEC Discussion Paper No. 2013-001, SSRN (Jan. 14, 2013),
        https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2202165.
                                                   12
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 1          50.    By 2011, studies concluded “that good quality electronic immobilizers [have

 2    bec[o]me car theft’s killer technology” and proved to be 32.7% “more effective in

 3    reducing car theft than alarms” and 42.2% “more effective than central locking.”19

 4          51.    Equally critical, academic studies support the proposition that “[f]rom the

 5    early 1990s onwards, it gradually became less easy for adolescents to begin offending as

 6    an increasing proportion of vehicles became secure” because the “young offenders did not

 7    have the skill or experience to overcome the new vehicle security technology, particularly

 8    electronic immobilizers.”20 As the rate of young offenders decreased due to improved

 9    vehicle security, “fewer adolescents” went on to experience “criminal career onset and

10    continuance.”21

11                 B.    Hyundai and Kia Deviated from the Industry Standard by
                         Electing Not to Include Immobilizers Or Other Reasonable Anti-
12                       Theft Technology in the Susceptible Vehicles
13          52.    Studies by the Highway Loss Data Institute (“HLDI”) showed “that vehicle
14    theft losses decreased significantly after factory-installed passive immobilizing antitheft
15    devices were introduced.”22 Specifically, HLDI studies between 1996 and 2013 all showed
16
      19
         Graham Farrell et al., The Crime Drop and the Security Hypothesis, 48(2) J. Res.
17
        Crime & Delinq. 147, 163, 169 (2011), https://www.researchgate.net/profile/Graham-
18      Farrell/publication/255589010_The_Crime_Drop_and_the_Security_Hypothesis/links/5
        4f3b8300cf299c8d9e537d9/The-Crime-Drop-and-the-Security-Hypothesis.pdf.
      20
19       Anthony Dixon & Graham Farrell, Age-period-cohort effects in half a century of motor
        vehicle theft in the United States, 9 Crime Sci. 17 at 7 (2020),
20      https://crimesciencejournal.biomedcentral.com/articles/10.1186/s40163-020-00126-5.
      21
         Id.; see also Graham Farrell, Forty years of declining burglary in the United States:
21
        Explanation and evidence relating to the security hypothesis, 35 Sec. J. 444, 458 (2022)
22      https://link.springer.com/article/10.1057/s41284-021-00284-4 (arguing that “making
        crime more difficult to commit may be the most effective way to reduce juvenile crime
23      and progression to adult crime”).
      22
         Hyundai and Kia theft losses, 38 HLDI Bull. 28, 1 (Dec. 2021),
24      https://www.iihs.org/media/0e14ba17-a3c2-4375-8e66-
        081df9101ed2/opm7QA/HLDI%20Research/Bulletins/hldi_bulletin_38-28.pdf.
                                                   13
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 1    decreases in theft losses for vehicles with engine immobilizers studied in those years,

 2    including General Motors, BMW, Ford, and Nissan.23 A 2013 HLDI study “found that

 3    thieves were sometimes targeting the older model years of a vehicle series without

 4    immobilizers, such as the Honda Civic and Honda Accord.”24

 5          53.    Despite decades of research and findings that immobilizers significantly

 6    reduced vehicle theft, “only 26 percent of Hyundai and Kia” 2015 vehicle models had

 7    “passive immobilizers as standard equipment, compared with 96 percent of other

 8    manufacturers.”25

 9          54.    The low percentage of Hyundai and Kia vehicles with immobilizers or other

10    reasonable anti-theft technology is especially concerning given that, during this same time

11    period, Hyundai and Kia were installing immobilizers in their models for sale in the

12    European and Canadian markets.26

13          55.    Nor are Defendants unfamiliar with the benefits of installing immobilizers in

14    the American market. A NHTSA standard separate from FMVSS 114 requires automobile

15    manufacturers to label parts to reduce the demand for stolen cars and chop shops (where

16    stolen cars are disassembled so that their valuable parts can be sold).27 Manufacturers can

17    apply for exemptions from this labeling requirement based on the inclusion of anti-theft

18    technology, because vehicles with anti-theft technology are much harder to steal in the

19    first place and thus much less likely to be “chopped” for parts. In March of 2007, Hyundai

20    23
         Id. at 2.
      24
         Id.
21    25
         Id. at 5.
      26
22       Hyundai first began exporting its cars to parts of Europe, the United Kingdom, and
        Canada between 1978 and 1984. See Over 50 years of progress: the history of Hyundai,
23      Hyundai Newsroom (Apr. 6, 2019), https://www.hyundai.news/eu/articles/press-
        releases/over-50-years-of-progress-the-history-of-hyundai.html. Similarly, Kia vehicles
24      were introduced into European and Canadian markets in the 1990s.
      27
         Requirements for passenger motor vehicles, 49 C.F.R. § 541.5 (June 1, 2011).
                                                   14
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 1    requested an exemption from the labeling requirement for its 2008 Hyundai Azera line

 2    based on its inclusion of an immobilizer in that model. Thus, Hyundai recognized the

 3    efficacy of immobilizers in reducing vehicle theft.28

 4          56.    Yet, despite knowing the unquestionable benefit of engine immobilizers,

 5    until 2022 or so, Hyundai and Kia only offered immobilizers in a few more expensive

 6    models, like the Azera.

 7          57.    In September 2022, HLDI found that Hyundais and Kias are stolen at nearly

 8    twice the rate of other vehicles in the automobile industry. Specifically, “Hyundais and

 9    Kias without immobilizers had a vehicle theft claim rate of 2.18 per 1,000 insured vehicle

10    years” while the remainder of the industry, combined, had a theft claim rate of 1.21.29

11          58.    Defendants’ decision not to install the simple and highly effective

12    immobilizer or other reasonable anti-theft technology in the Susceptible Vehicles between

13    2011 and 2022, in contrast to the vast majority of car manufacturers that did choose to

14    install immobilizers in nearly all of their vehicles, has, foreseeably, led to the economic

15    losses incurred by the Ohio GE Plaintiffs.

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      28
         Petition for Exemption From the Vehicle Theft Prevention Standard; Hyundai-Kia
20      America Technical Center, Inc., 72 Fed. Reg. 39,661 (July 19, 2007),
        https://www.govinfo.gov/content/pkg/FR-2007-07-19/pdf/FR-2007-07-19.pdf; see also
21
        Petition for Exemption From the Vehicle Theft Prevention Standard; Hyundai-Kia
22      America Technical Center, Inc., 75 Fed. Reg. 1,447-03 (Jan. 11, 2010),
        https://www.govinfo.gov/content/pkg/FR-2010-01-11/pdf/2010-236.pdf (NHTSA notice
23      granting an identical exemption for the Kia Amanti vehicle line beginning in model year
        2009 based on Defendant Kia’s representation that the immobilizer installation for that
24      specific model should substantially reduce theft rates).
      29
         Id. (“An insured vehicle year is equal to one vehicle insured for one year.”).
                                                   15
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                                          ID #:26011



 1                 C.    The Lack of Industry Standard Or Other Reasonable Anti-Theft
                         Technology in Most Hyundai and Kia Vehicles Has Led to a
 2                       Wave of Thefts
 3          59.    Kia and Hyundai chose to flout the industry standard of utilizing an engine
 4    immobilizer and failed to use any other reasonable anti-theft technology in the Susceptible
 5    Vehicles, which made those vehicles more susceptible to theft. As would-be car thieves
 6    learned of this susceptibility, the incidence of theft for Susceptible Vehicles increased,
 7    relative to other models, from 2015 to 2020.30
 8          60.    However, this progression became an explosion in late 2020, when a group
 9    of teenagers began posting “how-to” videos detailing how simple it was to steal
10    Susceptible Vehicles.31 That group, the “Kia Boyz,” became notorious for posting videos
11    of youth engaging in reckless driving after stealing Kias and Hyundais.32 As the videos
12    detailed, a thief need only break a window, remove the plastic cowl under the steering
13    column, and use a USB connector (such as the ubiquitous mobile phone charging cable)
14    30
         See NICB’s Hot Wheels: America’s 10 Most Stolen Vehicles, NICB (Aug. 1, 2016),
15      https://www.nicb.org/sites/files/2017-11/2015-Hot-Wheels-Report.pdf; NICB’s Hot
        Wheels: America’s 10 Most Stolen Vehicles, NICB (July 12, 2017),
16      https://www.nicb.org/sites/files/2017-11/2016-Hot-Wheels-Report.pdf; 2017 Hot
        Wheels Report, NICB (Sept. 18, 2018), https://www.nicb.org/news/news-releases/2017-
17
        hot-wheels-report; NICB’s Hot Wheels: America’s 10 Most Stolen Vehicles, NICB
18      (Nov. 19, 2019), https://www.nicb.org/sites/files/2020-
        01/2018%20Hot%20Wheels%20Report.pdf; NICB’s Hot Wheels: America’s Top Ten
19      Most Stolen Vehicles, NICB (Oct. 13, 2020), https://www.nicb.org/HotWheels2019;
        and NICB Releases Annual ‘Hot Wheels’ Report: America’s Top Ten Most Stolen
20      Vehicles, NICB (Oct. 12, 2021), https://www.nicb.org/news/news-releases/nicb-
        releases-annual-hot-wheels-report-americas-top-ten-most-stolen-vehicles.
21    31
         Greg Rosalsky, Someone stole my truck. I got a crash course on the wild black market
22      for stolen cars, NPR (Aug. 23, 2022, 6:30 AM),
        https://www.npr.org/sections/money/2022/08/23/1118457271/someone-stole-my-truck-
23      i-got-a-crash-course-on-the-wild-black-market-for-stolen-.
      32
         Chris DiLella & Andrea Day, TikTok challenge spurs rise in thefts of Kia, Hyundai
24      cars, CNBC (Sept. 9, 2022, 9:11 PM), https://www.cnbc.com/2022/09/08/tiktok-
        challenge-spurs-rise-in-thefts-of-kia-hyundai-cars.html.
                                                  16
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 1    to turn the ignition switch and start these unsecure cars. In many instances, thieves are

 2    able to break into the Susceptible Vehicles and drive away in under one minute.

 3          61.    What followed the trending documentation of the unsecure Susceptible

 4    Vehicles was all too predictable: thefts of Kias and Hyundais skyrocketed.33 In the first

 5    half of 2021, the number of stolen Kias and Hyundais in Milwaukee increased by more

 6    than thirty and fifteen times, respectively, when compared to the same period in 2020.34

 7    This dramatic increase was unique to Kias and Hyundais, which represented 67% of all

 8    cars stolen in that period, compared to only 6% of stolen cars in 2019.35 This trend then

 9    spread nationwide.

10           V.    THE DEFENDANTS’ LATE AND INSUFFICIENT RESPONSE
11          62.    The rampant thefts of Hyundai and Kia vehicles are still impacting the Ohio

12    GE Plaintiffs, years after the rise in thefts of the Susceptible Vehicles first began.36

13          63.    Defendants have refused to implement a recall to install engine immobilizers

14    in the Susceptible Vehicles, initially only suggesting that owners of Susceptible Vehicles

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      33
18       Videos Show Teens How to Steal Certain Kias and Hyundais With Only a USB Cable,
        Police Warn Amid Rising Thefts, Inside Edition (Aug. 10, 2022, 1:51 PM),
19      https://www.insideedition.com/videos-show-teens-how-to-steal-certain-kias-and-
        hyundais-with-only-a-usb-cable-police-warn-amid.
20    34
         Sean Tucker, Milwaukee Police Report Hyundais, Kias Stolen in Record Numbers,
        Kelley Blue Book (Dec. 14, 2021, 5:27 PM), https://www.kbb.com/car-
21
        news/milwaukee-police-report-hyundais-kias-stolen-in-record-numbers/.
      35
22       Matt Posky, Summer of Theft Creating Bad Publicity for Hyundai, Kia, Truth About
        Cars (Sept. 20, 2022 2:36 PM), https://www.thetruthaboutcars.com/cars/kia/summer-of-
23      theft-creating-bad-publicity-for-hyundai-kia-44496971.
      36
         Tom Krisher, Hyundai and Kia thefts keep rising despite security fix, AP News (May 9,
24      2023, 7:40 AM), https://apnews.com/article/hyundai-kia-tiktok-theft-stolen-
        8e0a353d24be0e7bce36e34c5e4dac51.
                                                  17
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 1    use wheel locks and, for some municipalities, offering wheel locks for them to distribute.37

 2    Unfortunately, the wheel locks are not entirely effective; Susceptible Vehicles with wheel

 3    locks in use have still been stolen and, in some instances, used in connection with other

 4    crimes, including shootings.38 In addition, municipalities are not set up to distribute

 5    automotive parts to residents.

 6          64.     Hyundai and Kia rolled out a “software update” rather than installing

 7    immobilizers.39 As highlighted in the multistate letter sent on behalf of 18 Attorneys

 8    General, Hyundai acknowledged that some of the affected vehicles cannot be updated, and

 9    Kia “confirmed that some unspecified number of affected vehicles cannot receive the

10    updates.”40

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      37
14       Elliot Hughes, Kia, Hyundai will make security feature standard on new vehicles and
        distribute free steering wheel locks after surge of thefts, Milwaukee J. Sentinel (July 19,
15      2021, 10:16 AM), https://www.jsonline.com/story/news/crime/2021/07/19/kia-hyundai-
        handing-out-free-steering-wheel-locks-through-end-year/7963950002/.
16    38
         Ashley Sears, Milwaukee woman’s Kia stolen twice, had steering wheel lock, FOX 6
        News Milwaukee (Sept. 28, 2021), https://www.fox6now.com/news/milwaukee-
17
        womans-kia-stolen-twice; see also David Rose, ‘B****, I swear, b****, I’m gonna
18      crack your phone:’ Drive-by shooting suspect says to Tacoma woman, FOX 13 Seattle
        (Jan. 25, 2023), https://www.q13fox.com/news/b-i-swear-b-im-gonna-crack-your-
19      phone-drive-by-shooting-suspect-says-to-tacoma-woman; and Boy, 15, fighting for his
        life after shooting involving stolen Kia in Minneapolis, CBS News Minnesota (Apr. 6,
20      2023), https://www.cbsnews.com/minnesota/video/boy-15-fighting-for-his-life-after-
        shooting-involving-stolen-kia-in-minneapolis/.
21    39
         Hyundai and Kia Launch Service Campaign to Prevent Theft of Millions of Vehicles
22      Targeted by Social Media Challenge, NHTSA (Feb. 14, 2023),
        https://www.nhtsa.gov/press-releases/hyundai-kia-campaign-prevent-vehicle-theft.
23    40
         Letter from Attorneys General to Ann Carlson, Acting Administrator of the National
        Highway Traffic Safety Administration (“Letter from Attorneys General to NHTSA”) at
24      6 (Apr. 20, 2023), https://oag.dc.gov/sites/default/files/2023-
        04/AG%20Multistate%20Letter%20to%20NHTSA%204.20.2023%20%281%29.pdf.
                                                    18
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 1          65.    As acknowledged in the motion for preliminary approval of the class action

 2    settlement in the instant litigation, only 6.9 million of the approximately 9 million

 3    Susceptible Vehicles are even eligible for the update.41

 4          66.    In the three months immediately following Kia’s and Hyundai’s release of

 5    the software update, data gathered from the Associated Press showed “that the number of

 6    Hyundai and Kia thefts is still growing[.]”42

 7          67.    The efficacy of the software update has not been proven in the real world.

 8    There have been numerous reports of Kia and Hyundai vehicles being stolen after

 9    receiving the software update, and Kia and Hyundai have identified scenarios where the

10    software logic fails.43 For vehicles not covered by the update, Defendants are offering

11    nothing more than steering wheel locks, or rebates for already purchased wheel locks.44

12    As noted by multiple Attorneys General, steering wheel locks “would impermissibly shift

13
      41
14       Consumer Class Pls.’ Notice Mot. & Mot. Prelim. Approval Class Action Settlement at
        12, In Re: Kia Hyundai Vehicle Theft Marketing, Sales Practices, and Products Liability
15      Litigation, 8:22-ml-03052-JVS-KES (C.D. Cal. July 20, 2023), ECF No. 166; see also
        Carly Schaffner, Kia, Hyundai anti-theft software fixes a work in progress, Auto. News
16      (June 2, 2023, 8:00 AM), https://www.autonews.com/regulation-safety/kia-hyundai-
        antitheft-software-fix-needs-fixes [https://perma.cc/HGH7-ZHZF] (noting that
17
        Defendants estimate “there are 9 million affected vehicles between them on the road”).
      42
18       See Tom Krisher, Hyundai and Kia thefts keep rising despite security fix, AP News
        (May 9, 2023, 7:40 AM), https://apnews.com/article/hyundai-kia-tiktok-theft-stolen-
19      8e0a353d24be0e7bce36e34c5e4dac51.
      43
         Carly Shaffner, Kia, Hyundai anti-theft software fixes a work in progress, Auto. News
20      (June 2, 2023, 8:00 AM), https://www.autonews.com/regulation-safety/kia-hyundai-
        antitheft-software-fix-needs-fixes [https://perma.cc/HGH7-ZHZF] (discussing a
21
        February 2023 service bulletin issued from Kia to its dealers regarding a software
22      compatibility issue for Kia vehicles equipped with remote start accessories; another
        bulletin issued from Kia in late-May of 2023 acknowledged that “the problem has not
23      been remedied”).
      44
         See Zac Palmer, Hyundai launches software update to fix some of 4 million vehicles at
24      risk of theft, Yahoo! (Feb. 14, 2023), https://autos.yahoo.com/hyundai-launches-
        software-fix-4-155800221.html.
                                                    19
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 1    the responsibility for fixing this problem from the company to the individual vehicle

 2    owners.”45

 3          68.    The Ohio GE Plaintiffs are aware of thefts of Hyundai and Kia vehicles that

 4    have received the software “fix.” Because the software update requires the vehicle’s doors

 5    to be locked, thieves are apparently able to bypass the software by breaking and removing

 6    the driver’s side door handle.46 News reports have indicated that thieves can easily

 7    circumvent or defeat the software update “fix” through such simple means without using

 8    any sophisticated tools. On information and belief, such method would not defeat an

 9    immobilizer or other reasonable anti-theft technology.47

10          69.    On information and belief, Hyundai and Kia both knew or should have

11    known that the software update could easily be defeated. Hyundai and Kia rolled out the

12    software “fix” despite this significant vulnerability.

13          70.    In addition, upon information and belief, the software update can significantly

14    inconvenience the drivers of the Susceptible Vehicles, making them less likely to seek it

15    out. Rather than install an actual immobilizer, the software update doubles the length of

16    45
         Letter from Attorneys General to NHTSA at 6.
      46
         See, e.g., Valerie Lyons, This College Hill Man Got an Anti-Theft Software Upgrade
17
        Installed. His Car Was Stolen Two Days Later, WCPO (Feb. 25, 2025),
18      https://www.wcpo.com/news/local-news/hamilton-county/cincinnati/college-hill/this-
        college-hill-man-got-an-anti-theft-software-upgrade-installed-his-car-was-stolen-two-
19      days-later; Her Hyundai Was Stolen by the Kia Boys, So She Got It Patched, Now It Got
        Stolen Again, Autoevolution (Oct. 2024), https://www.autoevolution.com/news/her-
20      hyundai-was-stolen-by-the-kia-boys-so-she-got-it-patched-now-it-got-stolen-again-
        240666.html.
21    47
         See, e.g., Bailey Shulz, How Effective Is the Hyundai, Kia Anti-Theft Software? New
22      Study Offers Insights, USA Today (Aug. 7, 2024),
        https://www.usatoday.com/story/money/cars/2024/08/07/kia-hyundai-software-upgrade-
23      cut-thefts/74691719007/; Brittany Roston, The ’Kia Boys’ Stole My Hyundai, Here’s
        What Happened Next, SlashGear (Aug. 17, 2024),
24      https://www.slashgear.com/1643133/kia-
        boys-stole-hyundai-tiktok-challenge-what-happened/.
                                                   20
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 1    the vehicles’ theft alarm sound and adds a new logic check to the vehicles’ onboard

 2    computers that is intended to prevent the Engine Control Unit from allowing the engine

 3    to start and run if the key fob is not used to unlock the doors. This update will interfere

 4    with the usability of the Susceptible Vehicles in many everyday situations.

 5          71.    As noted by the Attorneys General in their letter dated April 20, 2023, there

 6    are at least two other significant issues with the software update. First, “not all eligible

 7    vehicles can receive the updates immediately”—approximately two million vehicles with

 8    the “starting system flaw” were then awaiting eligibility for the update.48 Second,

 9    Defendants’ “voluntary service campaign” does not prompt certain “regulatory

10    requirements and oversight and instead places additional burdens on individual vehicle

11    owners.”49

12          72.    Owners of the Susceptible Vehicles have already experienced issues where

13    the software update—which requires the car to be unlocked using the fob before starting,

14    failing which the alarm will sound—conflicts with after-market remote start systems that

15    they had installed, rendering the vehicles functionally inoperable. As one owner posted:

16    “I have the update. I also have an aftermarket remote start. The remote start will set off

17

18

19

20    48
         Letter from Attorneys General to NHTSA at 6–7. Additionally, media outlets report
        that customers are “having a difficult time getting through” to customer service
21
        representatives for Hyundai and Kia to inquire about the software update and their
22      vehicle’s eligibility. See Hyundai, Kia owners frustrated by customer call center wait
        times to get security upgrade, WHIO TV 7 (Feb. 16, 2023, 8:47 PM),
23      https://www.whio.com/news/crime-and-law/hyundai-kia-owners-frustrated-by-
        customer-call-center-wait-times-get-security-
24      update/SXRBN3OTHVC37OLC3735Y755ZU/.
      49
         Id.
                                                   21
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 1    my car alarm. You can turn the alarm off, but it will beep periodically and the headlights

 2    flash until you turn the vehicle off.”50

 3           73.    Prior to this software update, Hyundai turned this crisis of its own making

 4    into a source of revenue, selling security kits for $170, plus the cost of installation.51

 5    Defendants could have, and should have, initially included an industry-standard fob-

 6    integrated engine immobilizer or other reasonable anti-theft technology. Even after the

 7    cars were sold, Defendants could have implemented a mandatory recall. They did not do

 8    so.

 9           74.    Because Hyundai and Kia have not implemented a mandatory recall for the

10    installation of immobilizers, millions of the Susceptible Vehicles remain on the road. A

11    2023 report from CARFAX found that 4.9 million Hyundais and Kias remain susceptible

12    to theft.52

13                      VI.   IMPACTS ON THE OHIO GE PLAINTIFFS

14           A.     Columbus, Ohio

15           75.    The City of Columbus has incurred, and continues to incur, significant

16    economic losses caused by the thefts of Kia’s and Hyundai’s extremely vulnerable cars.

17           76.    Sitting in the Midwest where the crime-wave began, the rise of car thefts in

18    Columbus began in late 2021, fueled in the summer of 2022 when viral online trends

19    publicized Kia’s and Hyundai’s security flaws.

20
      50
         Reddit (Feb. 15, 2023, 7:05 AM),
21
        https://web.archive.org/web/20230311080407/https://www.reddit.com/r/kia/comments/
22      11303m4/hyundai_and_kia_release_software_update_to/?sort=new.
      51
         Sebastian Blanco, Hyundai Charging Customers $170 for a Kit to Protect Its Easy-to-
23      Steal Cars, Car and Driver (Oct. 1, 2022), https://www.caranddriver.com/news/a4147
        7937/hyundai-security-kit-easy-to-steal-models/.
24    52
         Patrick Olsen, Nearly 5 Million Hyundai and Kia Models Need Anti-Theft Repairs,
        CARFAX Blog (July 19, 2023), https://www.carfax.com/blog/kia-hyundai-theft-repairs.
                                                  22
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            77.    But despite all the publicity and all the effort of its employees, the thefts in
13
      Columbus during 2022 and 2023 were eye-watering and to this day still outpace other
14
      manufacturers on a one-to-one basis as they continue to be stolen at rates that eclipse
15
      historical levels that preceded the theft wave.
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            78.    In 2022 and 2023, for example, Columbus police officers spent over 4,500
12
      hours responding to stolen Kia and Hyundai incidents, simply to complete theft reports.
13
      Compare this to 550 hours in 2020 before the crime wave started in 2021, which only
14
      resulted in over 900 hours for that year. This does not include the additional time spent
15
      completing follow-up detective work, recovering the vehicle, processing any arrest, or
16
      prosecuting cases. And, of course, every hour spent on these thefts is one less hour spent
17
      preventing or responding to the City of Columbus’ other pressing needs.
18
            79.    All told, based on these statistics, until the supply of Kias and Hyundais are
19
      removed from Columbus, there’s no reason to think the economic losses to the City of
20
      Columbus will cease anytime soon, if at all.
21
            B.      Cleveland, Ohio
22
            80.    The City of Cleveland has also experienced a considerable increase in
23
      Hyundai and Kia vehicle theft, starting in July 2022. As of the date of this filing, Hyundai
24

                                                  25
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 1    and Kia vehicles continue to be stolen at rates that eclipse historical levels that preceded

 2    the theft wave.

 3                Motor Vehicle Theft Trend in Cleveland Jan. 2022 – May 2025
         350
 4
         300
 5
         250
 6
         200
 7
         150
 8
         100
 9
          50
10
           0
11
                Jan. '22




               Sept. '22




                July '23
               Sept. '23

                Jan. '24



                July '24
               Sept. '24

                Jan. '25
               Mar. '22
               May '22
                 Jul. '22

               Nov. '22

               Mar. '23
               May '23



               Nov. '23

               Mar. '24
               May '24



               Nov. '24

               Mar. '25
               May '25
               Jan. '23




12

13                                Hyundai         Kia       Other Make
14
            81.    Between October and December 2022, nearly 1,200 Hyundai and Kia
15
      vehicles were stolen in Cleveland. In December 2022 alone, Hyundais and Kias accounted
16
      for approximately 66% of total vehicle theft in Cleveland. Hyundai and Kia vehicles made
17
      up nearly half of all vehicle thefts in Cleveland for May 2023.
18
            82.    Hyundais and Kias have been and continue to be stolen at higher rates than
19
      other vehicles. In May of 2025, Hyundai and Kia vehicles made up nearly 36% of all
20
      vehicle thefts compared to only 7.6% during that same period in 2020. For all of 2020 and
21
      2021, Hyundais and Kias made up only about 8% of vehicle thefts. By contrast,
22
      approximately 38.9% of all vehicles stolen in 2024 were Hyundais and Kias. As of May
23
      2025, Hyundais and Kias accounted for 32.9% of all vehicle thefts in Cleveland in 2025.
24
      That heightened rate of theft, as depicted above, continues to impact Cleveland to this day.
                                                  26
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 1          C.     Cincinnati, Ohio

 2          83.    The same vehicle theft trend is evident in Cincinnati, where, for example Kia

 3    and Hyundai vehicles accounted for 72% of reported auto thefts or attempts in February

 4    2023, compared to only 8% of thefts in February 2022.

 5          84.    To this day, thefts and attempted thefts of Hyundais and Kias continue to

 6    impact Cincinnati. For example, in May 2025, Hyundai and Kia vehicles accounted for

 7    50% of all attempted and completed thefts in Cincinnati.

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18          85.    The chart above clearly depicts how, as of the date of this filing, when
19    compared to historical norms, the elevated rate of theft and attempted theft of Hyundai
20    and Kia vehicles continues to persist.
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 1          86.    Compared to the top five other vehicle manufacturers, Hyundai and Kia

 2    vehicles continue to be stolen at significantly higher rates.

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            87.    According to Cincinnati Police Department data on attempted and completed
17
      auto theft, when comparing 2021 to 2022, there was a 416.6% increase in Kia and Hyundai
18
      theft. But during the same time period, there was a 3.6% decrease in auto theft for all other
19
      vehicle makes.
20
            88.    In 2023, 72% of attempted or completed auto thefts in Cincinnati involved a
21
      Kia or Hyundai vehicle. Up until July 2022, Kia and Hyundai vehicles consistently
22
      combined to account for less than 20 attempted or completed thefts per month. But in July
23
      2022, that number spiked to 150 vehicles. In February 2023, that number approached
24
      250—more than 1,000% increase over the historical norm. The number of Hyundai and
                                                   28
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 1    Kia vehicle thefts in Cincinnati skyrocketed in 2023. In May 2023, a record-high 137

 2    Hyundai vehicles were stolen. The 595 Hyundai vehicles stolen between January and June

 3    2023 represent a 1,114% increase from the 49 Hyundai vehicles stolen between January

 4    and June 2022. Similarly, the 393 Kia vehicles stolen between January and June 2023

 5    represent an 859% increase from the 41 Kia vehicles stolen between January and June

 6    2022.

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18            89.   As the theft of Hyundai and Kia vehicles increased, Cincinnati’s police

19    officers had to divert resources to account for the rash of thefts. The graph below shows

20    the spike in officer time spent responding to a scene where a Hyundai or Kia vehicle is

21    included in the dispatcher notes for an auto theft or auto theft recovery call.

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            90.    Because the elevated rate of theft and attempted theft of Hyundai and Kia
11
      vehicles continues to persist, Cincinnati’s police officers and emergency responders have
12
      continued to divert resources to address the thefts.
13
            D.     Lorain, Ohio
14
            91.    The City of Lorain has experienced increased rates of Hyundai and Kia
15
      vehicle thefts.
16
            92.    The rise in the rate of theft of Hyundai and Kia vehicles in the City of Lorain
17
      noticeably increased in 2021 before reaching unprecedented heights in 2023.
18
            93.    For all of 2023, the City of Lorain recorded approximately 66 thefts of
19
      Hyundai and Kia vehicles. That is more than double the total Hyundai and Kia thefts
20
      recorded for all of 2022 in the City of Lorain and a 633% increase from the 9 Hyundai
21
      and Kia thefts recorded for all of 2020.
22
            94.    In 2024, Hyundai and Kia vehicles continued to account for an outsized
23
      portion of vehicles stolen in Lorain at over 62% of all motor vehicle thefts.
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 1

 2                          Hyundai and Kia Thefts (Jan. 2020 - June 2025)

 3
      60
 4

 5    50

 6
      40
 7

 8    30

 9
      20
10

11    10

12
        0
13                 2020        2021         2022        2023          2024        2025

14
                                            Hyundais     Kias
15

16

17            95.     The elevated rate of theft of Hyundai and Kia vehicles continues to impact
18    Lorain to this day. So far, in 2025, Hyundai and Kia vehicles accounted for over 46% of
19    all motor vehicle thefts in Lorain.
20            E.      Parma, Ohio
21            96.     The City of Parma experienced a similar surge in thefts of Hyundai and Kia
22    vehicles. Between 2021 and 2022, the number of Kia vehicles stolen in the City of Parma
23    increased by more than 414% and thefts of Hyundai vehicles increased by more than
24    416%.

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 1           97.   The combined number of Hyundai and Kia vehicle thefts in 2022 more than

 2    quintupled the number of thefts of those same vehicles in 2021.

 3           98.   The rash of thefts continued at a similar pace in 2023.

 4                                Hyundai and Kia Thefts Over Time
                                       Jan. 2022 - May 2025
 5
        60
 6
        50
 7
        40
 8
        30
 9
        20

10      10

11       0

12

13                                         Hyundai Thefts   Kia Thefts


14           99.   In the first six months of 2023, 24 Hyundai and Kia vehicles were stolen—
15    more than the total Hyundai and Kia vehicle thefts for all of 2020 and, also, for all of 2021,
16    combined.
17           100. The surge in thefts caused Parma law enforcement officers to spend more and
18    more of their time responding to stolen Hyundai and Kia vehicles. In 2022, officers were
19    on scene responding to stolen Hyundai and Kia vehicles for more than 20,000 minutes.
20    This near ten-fold increase since 2020 has placed a tremendous strain on Parma’s Uniform
21    Patrol Division, whose time has been diverted from other important duties, not to mention
22    the time other divisions spend investigating and prosecuting these crimes.
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 1                                   VII. CAUSES OF ACTION

 2                                COUNT ONE — NEGLIGENCE

 3          101. The Ohio GE Plaintiffs incorporate each preceding paragraph as though set

 4    forth fully herein.

 5          102. At all times relevant to this litigation, Defendants had a duty to act as a

 6    reasonably careful person or company would act under the circumstances in the design,

 7    research, development, manufacture, testing, and distribution of Defendants’ products,

 8    including the duty to take all reasonable steps necessary to prevent the design,

 9    manufacturing, marketing, distribution, and sale of vehicles that were vulnerable to theft

10    without an engine immobilizer or other reasonable anti-theft technology.

11          103. Defendants owed and continue to owe the Ohio GE Plaintiffs duties to use

12    reasonable care to not (1) expose the Ohio GE Plaintiffs to an unreasonable risk of

13    economic loss or (2) create or increase the risk of economic loss through their own actions

14    that a reasonable person or company would take into account.

15          104. Defendants’ duties were preexisting.

16          105. At all times relevant to this litigation, Defendants knew or, in the exercise of

17    reasonable care, should have known of the risks of forgoing installation of engine

18    immobilizers or other reasonable anti-theft technology in the Susceptible Vehicles and

19    specifically, the increased risk of vehicle theft.

20          106. Defendants knew or, in the exercise of reasonable care, should have known

21    that their vehicles were statistically more vulnerable to theft without engine immobilizers

22    or other reasonable anti-theft technology, the natural and probable consequence would be

23    increased thefts and attempted thefts (including formerly unsuccessful attempts that would

24    now become successful).

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 1          107. Defendants also knew or, in the exercise of reasonable care, should have

 2    known that local governments, like the Ohio GE Plaintiffs, would bear the cost for dealing

 3    with increased vehicle thefts and attempted thefts.

 4          108. Accordingly, at all times relevant to this litigation, Defendants knew or, in

 5    the exercise of reasonable care, should have known that the omission of an engine

 6    immobilizer or other reasonable anti-theft technology in the Susceptible Vehicles could

 7    cause the Ohio GE Plaintiffs’ economic loss and thus created an unreasonable, and

 8    increased risk of economic loss to the Ohio GE Plaintiffs.

 9          109. At all times relevant to this litigation, Defendants knew or, in the exercise of

10    reasonable care, should have known that the omission of an engine immobilizer or other

11    reasonable anti-theft technology in the Susceptible Vehicles could cause the Ohio GE

12    Plaintiffs’ economic loss. As alleged above, nearly all cars sold in the United States by

13    other manufacturers are equipped with engine immobilizers, and, as the data throughout

14    this Superseding Consolidated Complaint demonstrates, are not subject to the epidemic of

15    thefts that plague Defendants’ Susceptible Vehicles. And upon information and belief,

16    Defendants use immobilizers in other markets, including Canada.

17          110. As such, Defendants, by action and inaction, breached their duty, failed to

18    exercise reasonable care, and failed to act as a reasonably prudent person or company

19    would act under the same circumstances in the design, research, development,

20    manufacture, testing, and distribution of their vehicles, in that Defendants manufactured

21    and produced vehicles that fell below reasonable or minimum, industry-standard security

22    measures, including, upon information and belief, those used on their own vehicles.

23          111. Defendants are in control of the design, research, manufacture, testing, and

24    distribution of the vehicles they distributed to authorized dealerships in the United States.

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 1          112. Defendants knew or, in the exercise of reasonable care, should have known

 2    that the Ohio GE Plaintiffs would suffer economic losses as a result of Defendants’ failure

 3    to exercise reasonable care in the design, research, development, manufacture, testing, and

 4    distribution of Defendants’ vehicles, particularly given Defendants’ recognition as early

 5    as 2007 that engine immobilizers were an effective deterrent to vehicle theft.

 6          113. Defendants acted unreasonably in light of the foreseeable result of their entire

 7    course of conduct, and Defendants’ negligence helped to and did produce, and was a

 8    factual and proximate cause, of the economic losses that the Ohio GE Plaintiffs suffered

 9    and will continue to suffer.

10          114. Defendants’ acts and omissions imposed an unreasonable and increased risk

11    of economic loss to the Ohio GE Plaintiffs separately and/or combined with the negligent

12    and/or criminal acts of third parties.

13          115. The Ohio GE Plaintiffs’ economic losses would not have occurred absent

14    Defendants’ entire negligent course of conduct as described herein.

15          116. As a factual and proximate result of Defendants’ wrongful acts and

16    omissions, the Ohio GE Plaintiffs have suffered economic losses and will continue to incur

17    economic loss in the future, as described herein, including but not limited to expending,

18    diverting, and increasing resources to deter thefts of Susceptible Vehicles; responding to

19    and investigating thefts of Susceptible Vehicles and crimes committed with such vehicles;

20    retrieving, inventorying, and impounding stolen Susceptible Vehicles; assisting with the

21    prosecution of individuals charged with stealing Susceptible Vehicles and/or using such

22    vehicles to commit crimes; and providing emergency services within the jurisdictions of

23    the Ohio GE Plaintiffs.

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 1          117. Defendants engaged in a course of conduct, as described above, that

 2    constituted reckless disregard of the duties owed to the Ohio GE Plaintiffs, being fully

 3    aware of the probable dangerous consequences of the conduct and deliberately failing to

 4    avoid those consequences.

 5          118. Defendants’ entire course of conduct constituting reckless and conscious

 6    disregard for the duties owed to the Ohio GE Plaintiffs was committed and/or authorized

 7    by one or more officers, directors, or managing agents of Defendants, who acted on behalf

 8    of Defendants. Additionally, or in the alternative, one or more officers, directors or

 9    managing agents of Defendants knew of the conduct constituting reckless disregard for

10    the Ohio GE Plaintiffs’ rights and adopted or approved that conduct after it occurred.

11          119. Defendants’ entire course of misconduct alleged in this case does not concern

12    a discrete event or discrete emergency of the sort that a political subdivision would

13    reasonably expect to occur and is not part of the normal and expected costs of a local

14    government’s existence. The Ohio GE Plaintiffs allege wrongful acts which are neither

15    discrete nor of the sort that a local government can reasonably expect to occur.

16          120. Defendants’ misconduct was a substantial factor and the factual and

17    proximate cause of the long-lasting damages incurred (and continue to be incurred) by the

18    Ohio GE Plaintiffs that are unique to themselves and different in kind from those incurred

19    by the general public, including dramatically-increased expenditures for police,

20    emergency, prosecutions, corrections, youth rehabilitative services, and other services that

21    were beyond the expenses otherwise reasonably expected to occur in the ordinary course.

22          121. The Ohio GE Plaintiffs have incurred, and will continue to incur, economic

23    losses over and above their ordinary expenditures due to Defendants’ actions.

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 1          122. The tortious conduct of each Defendant was a substantial factor in producing

 2    economic loss to the Ohio GE Plaintiffs.

 3          123. Defendants’ willful, knowing, and reckless course of conduct warrants an

 4    award of aggravated or punitive damages.

 5          124. The Ohio GE Plaintiffs are without fault and the economic losses to the Ohio

 6    GE Plaintiffs would not have occurred in the ordinary course of events had Defendants

 7    used reasonable care commensurate to the reasonably foreseeable outcomes involved in

 8    the design, research, development, manufacturing, testing, and distribution of their

 9    vehicles.

10          125. The Ohio GE Plaintiffs expressly assert this Cause of Action as a common

11    law tort claim for negligence and not as a “product liability claim” as defined in Ohio Rev.

12    Code Ann. § 2307.71 (West 2007). Notwithstanding any allegation in this Superseding

13    Consolidated Complaint to the contrary, the Ohio GE Plaintiffs do not seek to recover—

14    and expressly disclaim—compensatory damages for death, physical injury to person,

15    emotional distress, or physical damage to property, as defined under the Ohio Product

16    Liability Act.

17          126. The Ohio GE Plaintiffs bring this claim on behalf of themselves, not in any

18    parens patriea capacity or on behalf of their residents or the public.

19                     COUNT TWO — STATUTORY PUBLIC NUISANCE
20          127. There is an inextricable link between preventing vehicle theft and protecting
21    public safety. Making sure cars are not sitting ducks that are simple to steal protects both
22    property and the public by keeping dangerous drivers in stolen vehicles off the roads. This
23    case exposes the massive public safety consequences to cities coast to coast when two car
24    manufacturers made the business decision not to include standard anti-theft technology in

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 1    their vehicles. Despite taking some initial steps to discourage thefts, Defendants have not

 2    abated the dangerous crime wave unleashed on communities nationwide—a crime wave

 3    that continues to this day.

 4          128. Online videos demonstrate how easy it is to steal Hyundai and Kia vehicles.

 5    In many cases, thieves use tools no more advanced than a USB cable. Hyundai’s and Kia’s

 6    business decisions to reduce costs, and thereby boost profits, by forgoing common anti-

 7    theft technology have resulted in a dangerous rash of thefts. This vehicular crime wave

 8    has had a significant impact on law enforcement operations, emergency services, and

 9    public safety, particularly in cities such as Milwaukee, Madison, and Green Bay,

10    Wisconsin; Columbus, Cleveland, Cincinnati, Lorain, and Parma, Ohio; Baltimore,

11    Maryland; Seattle, Washington; St. Louis and Kansas City, Missouri; Buffalo, Rochester,

12    New York City, Yonkers, and Tonawanda, New York; and Indianapolis, Indiana.

13          129. Hyundai’s and Kia’s decisions to put profits over public safety have had

14    devastating consequences for the Ohio GE Plaintiffs and their residents. Defendants’

15    failure to install an industry-standard immobilization anti-theft device, notwithstanding

16    decades of academic literature and research supporting the deterrent effects of such

17    technology,53 or any other reasonable anti-theft technology has opened the floodgates to

18    vehicle theft, crime sprees, reckless driving, and public harm.

19

20    53
        See, e.g., Petition for Exemption From the Vehicle Theft Prevention Standard;
       Hyundai-Kia America Technical Center, Inc., 72 Fed. Reg. 39,661 (July 19, 2007),
21
       https://www.govinfo.gov/content/pkg/FR-2007-07-19/pdf/FR-2007-07-19.pdf; see also
22     Petition for Exemption From the Vehicle Theft Prevention Standard; Hyundai-Kia
       America Technical Center, Inc., 75 Fed. Reg. 1,447-03 (Jan. 11, 2010),
23     https://www.govinfo.gov/content/pkg/FR-2010-01-11/pdf/2010-236.pdf (NHTSA notice
       granting an identical exemption for the Kia Amanti vehicle line beginning in model year
24     2009 based on the representation that the immobilizer installation for that specific
       model should substantially reduce theft rates).
                                                 38
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 1          130. This epidemic started in Milwaukee and spread nationwide. By June 2021,

 2    the Milwaukee Police Department reported that the theft of Hyundai and Kia vehicles had

 3    increased by 2,500% since the previous year, with an average of 30 cars being stolen per

 4    day.54 This trend then spread nationwide, enabled by millions of Hyundai and Kia vehicles

 5    lacking immobilizers. As explained below, the crime wave continues to this day in

 6    communities coast to coast—and those communities are left to pay the price.

 7          131. Vehicle theft is not only a property crime affecting vehicle owners, but it also

 8    constitutes a grave threat to public safety. Vehicle theft goes hand in hand with reckless

 9    driving, which in turn can result in injuries and/or death. It can result in increased violence,

10    as many car owners are unlikely to part with their vehicles willingly. It also consumes law

11    enforcement and emergency resources and deprives the public of safe streets and

12    sidewalks.

13          132. The skyrocketing rate of Kia and Hyundai vehicle thefts has drastically

14    impacted city and police resources for the Ohio GE Plaintiffs. Their residents are subjected

15    to increasingly dangerous conditions on their streets, as car thieves (many of them

16    teenagers) are taking advantage of Hyundai’s and Kia’s failures and engaging in reckless

17    driving, endangering the Ohio GE Plaintiffs’ employees, residents, and property.

18          133. Defendants’ conduct has created a public nuisance that could have been

19    avoided had they followed industry-wide standards and installed immobilizer devices, or

20    an equivalent anti-theft device, in all their vehicles.

21

22

23    54
        James Gilboy, Why Milwaukee Might Sue Hyundai, Kia Over Stolen Car Epidemic,
       thedrive.com (last updated Dec. 11, 2021, 11:15 AM),
24     https://www.thedrive.com/news/43454/why-milwaukee-might-sue-hyundai-kia-over-
       stolen-car-epidemic.
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 1             134. Among other harms, the Ohio GE Plaintiffs have been forced to divert funds

 2    and risk officer and public safety to combat the growing burden caused by increased

 3    Hyundai and Kia vehicle thefts and their many associated dangers, including reckless

 4    driving.

 5                    A.    The Kia Hyundai Theft Wave

 6                   1.    Measures to Prevent Vehicle Thefts Have Existed for Over a
                           Century
 7
               135. Since the invention of gasoline-powered automobiles at the close of the
 8
      nineteenth century, consumers have needed effective ways to keep their vehicles from
 9
      being stolen. Thus, efforts to prevent theft or unauthorized access to automobiles have
10
      tracked vehicle development. In 1919, St. George Evans and Edward B. Birkenbeuel
11
      invented the first electric immobilizer/vehicle security system.55
12
               136. Labeled the “Automobile-Theft Preventer” the purpose of Evans and
13
      Birkenbeuel’s invention was relatively straightforward: “to provide a means for
14
      automatically signaling an attempt to move an automobile by unauthorized persons; and
15
      to provide a means for locking the electric circuit open, in which case it will be impossible
16
      to move the car by its own power.”56
17
               137. Evans and Birkenbeuel’s immobilizer/alarm system consisted of a three-by-
18
      three switch panel that connected to the car’s battery, horn, and ignition. Upon exiting his
19
      vehicle, a driver could turn a few switches on the panel to different positions that, until
20
      released, would divert electricity to the horn instead of the ignition should an unauthorized
21
      user attempt to start the vehicle.
22

23

24    55
           U.S. Patent No. 1,300,150 (issued Apr. 8, 1919).
      56
           Id. at col. 1 ll. 14–20.
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              Sketches for Evans & Birkenbeuel’s “Automobile Theft Preventer”57
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12          138. The timing of the first immobilizer patent coincided with Congress’s
13    enactment of the National Motor Vehicle Theft Act, 18 U.S.C. § 2311 et seq., which made
14    the interstate transportation of stolen vehicles a federal crime. The law passed, in part, to
15    respond to the growing number of automobile thefts around the country, especially in
16    midwestern cities.
17          139. As time passed and technology advanced, the United States pursued further
18    efforts to promulgate vehicle safety standards. These efforts were also fueled by the post-
19    war rise in vehicle thefts among juveniles and young adults, “who took cars for joyriding
20    and transportation.”58
21

22

23    57
        Id. at figs. 1, 2, 3, 4.
      58
        Anthony Dixon & Graham Farrell, Age-period-cohort effects in half a century of motor
24     vehicle theft in the United States, 9 Crime Sci. 17 at 3 (2020),
       https://crimesciencejournal.biomedcentral.com/articles/10.1186/s40163-020-00126-5.
                                                  41
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 1          140. In 1966, Congress passed the National Traffic and Motor Vehicle Safety Act

 2    (the “Safety Act”), with the aim of administering new motor vehicle and traffic safety

 3    standards.59 Administration of the Safety Act was overseen by the newly created

 4    Department of Transportation through its sub-agency: the National Highway Traffic

 5    Safety Administration, f/k/a/ the National Traffic Safety Bureau (“NHTSA”).

 6          141. Pursuant to its statutory authority under the Safety Act, NHTSA promulgated

 7    numerous federal motor vehicle safety standards (“FMVSS”). Among these standards,

 8    FMVSS 11460 requires minimum theft-protection standards for nearly all passenger

 9    vehicles in the United States:

10                 S1. Scope. This standard specifies vehicle performance requirements
                   intended to reduce the incidence of crashes resulting from theft and
11                 accidental rollaway of motor vehicles.
12
                   S2. Purpose. The purpose of this standard is to decrease the likelihood that a
13                 vehicle is stolen, or accidentally set in motion.

14                 S3. Application. This standard applies to all passenger cars, and to trucks and
                   multipurpose passenger vehicles with a GVWR of 4,536 kilograms (10,000
15                 pounds) or less.
16                 ...
                   S5.1 Theft Protection.
17                 S5.1.1 Each vehicle must have a starting system which, whenever the key is
                   removed from the starting system prevents:
18                 (a) The normal activation of the vehicle’s engine or motor; and
                   (b) Either steering, or forward self-mobility, of the vehicle, or both.
19

20                 ...

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22

23    59
         National Traffic and Motor Vehicle Safety Act, Pub. L. No. 89-563, 80 Stat. 718
        (1966).
24    60
         Standard No. 114; Theft protection and rollaway prevention, 49 C.F.R. § 571.114
        (2010) (“FMVSS 114”).
                                                 42
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 1                 S5.2.2 Except as specified in S5.2.4, the vehicle must be designed such that
                   the transmission or gear selection control cannot move from the “park”
 2                 position, unless the key is in the starting system.
 3          142. The main motivation for creating FMVSS 114 was NHTSA’s recognition
 4    “that stolen cars constitute a major hazard to life and limb on the highways. The evidence
 5    shows that cars operated by unauthorized persons are far more likely to cause
 6    unreasonable risk of accident, personal injury, and death than those which are driven by
 7    authorized individuals.”61
 8          143. As early as 1966, studies showed “there were an estimated 94,000 stolen cars
 9    involved in accidents”—with “18,000 of these accidents result[ing] in injury to one or
10    more people.”62 Accordingly, NHTSA recognized that “a reduction in the incidence of
11    auto theft would make a substantial contribution to motor vehicle safety” and “protect the
12    many innocent members of the public who are killed and injured by stolen cars each
13    year.”63 To address this safety risk, which is largely tied to “car thieves who could bypass
14    the ignition lock . . . the agency decided to require a device, which would prevent either
15    self-mobility or steering even if the ignition lock were bypassed.”64
16          144. An industry-standard engine immobilizer is the most effective way to satisfy
17    this requirement, “because it locks out the engine control module if an attempt is made to
18

19
      61
         Motor Vehicle Safety Standard No. 114; Theft Protection; Passenger Cars, 33 Fed.
20      Reg. 83, 6,471 (Apr. 27, 1968), https://www.govinfo.gov/content/pkg/FR-1968-04-
        27/pdf/FR-1968-04-27.pdf#page=1.
21    62
         Id.
      63
22       Id.
      64
         Federal Motor Vehicle Safety Standards; Theft Protection, 71 Fed. Reg. 17,752, 17,753
23      (Apr. 7, 2006), https://www.govinfo.gov/content/pkg/FR-2006-04-07/pdf/06-3358.pdf;
        see also Motor Vehicle Safety Standard No. 114; Theft Protection; Passenger Cars, 33
24      Fed. Reg. 83, 6,471 (Apr. 27, 1968), https://www.govinfo.gov/content/pkg/FR-1968-04-
        27/pdf/FR-1968-04-27.pdf#page=1.
                                                  43
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 1    start the vehicle without the correct key or to bypass the electronic ignition system.”65

 2    Defendants’ choice not to use this industry-standard anti-theft technology predictably led

 3    to rampant car thefts and resulted in a threat to public safety and an ongoing public

 4    nuisance.

 5          145. In the late 1980s and early 1990s, vehicle theft increased dramatically in the

 6    United States.66 The most common method for stealing a car involved bypassing the

 7    motor’s ignition switch, otherwise known as “hotwiring.” The graph below illustrates the

 8    dramatic rise in car thefts during this time period.67

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                    Vehicle thefts per 10,000 vehicles in operation, and vehicle
17                       theft arrests per 100,000 population, 1960-2014

18          146. To respond to this growing problem, manufacturers began installing passive
      vehicle immobilizers, which were patented in 1993.68 Unlike Evans and Birkenbeuel’s
19
      invention nearly 75 years prior, the vehicle immobilizer would render the engine operable
20

21    65
         Jacqueline Glassman, Interpretation ID : GF005229-2, NHTSA (Sept. 24, 2004),
22      https://www.nhtsa.gov/interpretations/gf005229-2.
      66
         Anthony Dixon & Graham Farrell, Age-period-cohort effects in half a century of motor
23      vehicle theft in the United States, 9 Crime Sci. 17 at 3 (2020),
        https://crimesciencejournal.biomedcentral.com/articles/10.1186/s40163-020-00126-5.
24    67
         Id. at fig. 1.
      68
         Int’l Patent Publication No. WO 93/13968 (filed Jan. 7, 1993).
                                                   44
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 1    only “if the correct key having coded information is used[,]” rather than relying on

 2    concealed switches or memorizing keypad combinations.69

 3          147. In essence, the vehicle immobilizers of the 1990s worked by checking the

 4    “fingerprint” of a car key based on electronic codes the key sends to the vehicle. They

 5    prevented hotwiring by ensuring that a car would not start if the key was not present—

 6    whether or not the ignition switch was turned or bypassed.

 7          148. Although the mechanism behind the vehicle immobilizer was more intricate

 8    than the original 1919 invention, the overall purpose remained the same: “to make the

 9    vehicle more difficult to steal.”70

10          149. The invention proved successful and, less than five years later, the European

11    Union mandated that all new passenger cars from 1998 onward be equipped with an

12    electronic engine immobilizer.71 Similar mandates soon followed in Australia, New

13    Zealand, and Canada.

14          150. As engine immobilizers became the industry standard among manufacturers,

15    at least one study in the Netherlands suggested that immobilizers “lowered the overall rate

16    of car theft on average by about 50 percent during 1995-2008.”72

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20    69
         Id. at 3–4.
      70
         Id. at 1.
21    71
         Commission Directive 95/56/EC, 1995 O.J. (L286) 1,
22      https://op.europa.eu/en/publication-detail/-/publication/c2e30303-75eb-47af-bb8d-
        db61a5b57ff9 (amending Council Directive 74/61/EEC to require the installation of
23      immobilizers and alarm systems in motor vehicles beginning in October 1998).
      72
         Jan C. van Ours & Ben Vollaard, The Engine Immobiliser: A Non-Starter for Car
24      Thieves, TILEC Discussion Paper No. 2013-001, SSRN (Jan. 14, 2013),
        https://papers.ssrn.com/sol3/papers.cfm?abstract_id=2202165.
                                                   45
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 1          151. By 2011, studies concluded “that good quality electronic immobilizers [have

 2    bec[o]me car theft’s killer technology” and proved to be 32.7% “more effective in

 3    reducing car theft than alarms” and 42.2% “more effective than central locking.”73

 4          152. Equally critical, academic studies support the proposition that “[f]rom the

 5    early 1990s onwards, it gradually became less easy for adolescents to begin offending as

 6    an increasing proportion of vehicles became secure” because the “young offenders did not

 7    have the skill or experience to overcome the new vehicle security technology, particularly

 8    electronic immobilizers.”74 As the rate of young offenders decreased due to improved

 9    vehicle security, “fewer adolescents” went on to experience “criminal career onset and

10    continuance.”75
                  2.     Hyundai and Kia Deviated from the Industry Standard by
11                       Electing Not to Include Immobilizers in the Susceptible Vehicles
12          153. Studies by the Highway Loss Data Institute (“HLDI”) showed “that vehicle
13    theft losses decreased significantly after factory-installed passive immobilizing antitheft
14    devices were introduced.”76 Specifically, HLDI studies between 1996 and 2013 all showed
15    decreases in theft losses for vehicles with engine immobilizers studied in those years,
16
      73
         Graham Farrell et al., The Crime Drop and the Security Hypothesis, 48(2) J. Res.
17
        Crime & Delinq. 147, 163, 169 (2011), https://www.researchgate.net/profile/Graham-
18      Farrell/publication/255589010_The_Crime_Drop_and_the_Security_Hypothesis/links/5
        4f3b8300cf299c8d9e537d9/The-Crime-Drop-and-the-Security-Hypothesis.pdf.
      74
19       Anthony Dixon & Graham Farrell, Age-period-cohort effects in half a century of motor
        vehicle theft in the United States, 9 Crime Sci. 17 at 7 (2020),
20      https://crimesciencejournal.biomedcentral.com/articles/10.1186/s40163-020-00126-5.
      75
         Id.; see also Graham Farrell, Forty years of declining burglary in the United States:
21
        Explanation and evidence relating to the security hypothesis, 35 Sec. J. 444, 458 (2022)
22      https://link.springer.com/article/10.1057/s41284-021-00284-4 (arguing that “making
        crime more difficult to commit may be the most effective way to reduce juvenile crime
23      and progression to adult crime”).
      76
         Hyundai and Kia theft losses, 38 HLDI Bull. 28, at 1 (Dec. 2021),
24      https://www.iihs.org/media/0e14ba17-a3c2-4375-8e66-
        081df9101ed2/opm7QA/HLDI%20Research/Bulletins/hldi_bulletin_38-28.pdf.
                                                   46
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 1    including General Motors, BMW, Ford, and Nissan.77 A 2013 HLDI study “found that

 2    thieves were sometimes targeting the older model years of a vehicle series without

 3    immobilizers, such as the Honda Civic and Honda Accord.”78

 4          154. Despite decades of research and findings that immobilizers significantly

 5    reduced vehicle theft and the consequential public safety risks, “only 26 percent of

 6    Hyundai and Kia” 2015 vehicle models had “passive immobilizers as standard equipment,

 7    compared with 96 percent of other manufacturers.”79

 8          155. The low percentage of Hyundai and Kia vehicles with immobilizers is

 9    especially concerning given that, during this same time period, Hyundai and Kia were

10    installing immobilizers in their models for sale in the European and Canadian markets.80

11          156. Nor are Defendants unfamiliar with the benefits of installing immobilizers in

12    the American market. A NHTSA standard separate from FMVSS 114 requires automobile

13    manufacturers to label parts to reduce the demand for stolen cars and chop shops (where

14    stolen cars are disassembled so that their valuable parts can be sold).81 Manufacturers can

15    apply for exemptions from this labeling requirement based on the inclusion of anti-theft

16    technology, because vehicles with anti-theft technology are much harder to steal in the

17    first place and thus much less likely to be “chopped” for parts. In March of 2007, Hyundai

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      77
19       Id. at 2.
      78
         Id.
20    79
         Id. at 5.
      80
         Hyundai first began exporting its cars to parts of Europe, the United Kingdom, and
21
        Canada between 1978 and 1984. See Over 50 years of progress: the history of Hyundai,
22      Hyundai Newsroom (Apr. 6, 2019), https://www.hyundai.news/eu/articles/press-
        releases/over-50-years-of-progress-the-history-of-hyundai.html
23      [https://web.archive.org/web/20240317225340/https://www.hyundai.news/eu/articles/pr
        ess-releases/over-50-years-of-progress-the-history-of-hyundai.html]. Similarly, Kia
24      vehicles were introduced into European and Canadian markets in the 1990s.
      81
         Requirements for passenger motor vehicles, 49 C.F.R. § 541.5 (June 1, 2011).
                                                   47
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 1    requested an exemption from the labeling requirement for its 2008 Hyundai Azera line

 2    based on its inclusion of an immobilizer in that model. Thus, Hyundai recognized the

 3    efficacy of immobilizers in reducing vehicle theft.82

 4          157. Yet, despite knowing the unquestionable benefit of engine immobilizers,

 5    until 2022 or so, Hyundai and Kia only offered immobilizers in a few more expensive

 6    models, like the Azera. This decision only compounds the harms to low-income

 7    communities.83 Consumers without resources to afford these higher end models are more

 8    likely to live in areas with higher crime rates and are likely less able to pay for alternative

 9    transportation or for the cost of repairing a recovered, but damaged, vehicle after a theft.

10          158. In September 2022, HLDI found that Hyundais and Kias are stolen at nearly

11    twice the rate of other vehicles in the automobile industry. Specifically, “Hyundais and

12    Kias without immobilizers had a vehicle theft claim rate of 2.18 per 1,000 insured vehicle

13    years” while the remainder of the industry, combined, had a theft claim rate of 1.21.84

14          159. Defendants’ decision not to install the simple and highly effective

15    immobilizer in the Susceptible Vehicles between 2011 and 2022, in contrast to the vast

16
      82
         Petition for Exemption From the Vehicle Theft Prevention Standard; Hyundai-Kia
17
        America Technical Center, Inc., 72 Fed. Reg. 39,661 (July 19, 2007),
18      https://www.govinfo.gov/content/pkg/FR-2007-07-19/pdf/FR-2007-07-19.pdf; see also
        Petition for Exemption From the Vehicle Theft Prevention Standard; Hyundai-Kia
19      America Technical Center, Inc., 75 Fed. Reg. 1,447-03 (Jan. 11, 2010),
        https://www.govinfo.gov/content/pkg/FR-2010-01-11/pdf/2010-236.pdf (NHTSA notice
20      granting an identical exemption for the Kia Amanti vehicle line beginning in model year
        2009 based on Defendant Kia’s representation that the immobilizer installation for that
21
        specific model should substantially reduce theft rates).
      83
22       Tom Krisher, Thieves key on hack that leaves Hyundai, Kia cars vulnerable, AP News
        (Sept. 21, 2022, 10:21 PM), https://apnews.com/article/social-media-milwaukee-theft-
23      ecd3be407c1b7cb725ae607b8d86bcaf (noting that “[m]any of the vulnerable Hyundais
        and Kias are often bought by lower-income people” because, as stated by HLDI Senior
24      VP Matt Moore, those cars “are relatively inexpensive vehicles when purchased new”).
      84
         Id. (“An insured vehicle year is equal to one vehicle insured for one year.”).
                                                   48
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 1    majority of car manufacturers that did choose to install immobilizers in nearly all of their

 2    vehicles, has, foreseeably, led to the epidemic plaguing the Ohio GE Plaintiffs.

 3                 3.    The Lack of Industry Standard Anti-Theft Devices in Most
                         Hyundai and Kia Vehicles Has Led to a Wave of Thefts
 4
            160. Kia and Hyundai chose to flout the industry standard of utilizing an engine
 5
      immobilizer and failed to include any other reasonable anti-theft technology in the
 6
      Susceptible Vehicles, which made those vehicles more susceptible to theft. As would-be
 7
      car thieves learned of this susceptibility, the incidence of theft for Susceptible Vehicles
 8
      increased, relative to other models, from 2015 to 2020.85
 9
            161. However, this progression became an explosion in late 2020, when a group
10
      of teenagers began posting “how-to” videos detailing how simple it was to steal
11
      Susceptible Vehicles.86 That group, the “Kia Boyz,” became notorious for posting videos
12
      of youth engaging in reckless driving after stealing Kias and Hyundais.87 As the videos
13
      85
14       See, e.g., Press Releases, National Insurance Crime Bureau (NCIB): NICB’s Hot
        Wheels: America’s 10 Most Stolen Vehicles (Aug. 1, 2016),
15      https://www.nicb.org/sites/files/2017-11/2015-Hot-Wheels-Report.pdf; NICB’s Hot
        Wheels: America’s 10 Most Stolen Vehicles (July 12, 2017),
16      https://www.nicb.org/sites/files/2017-11/2016-Hot-Wheels-Report.pdf; 2017 Hot
        Wheels Report (Sept. 18, 2018), https://www.nicb.org/news/news-releases/2017-hot-
17
        wheels-report; NICB’s Hot Wheels: America’s 10 Most Stolen Vehicles (Nov. 19, 2019),
18      https://www.nicb.org/sites/files/2020-01/2018%20Hot%20Wheels%20Report.pdf;
        NICB’s Hot Wheels: America’s Top Ten Most Stolen Vehicles (Oct. 13, 2020),
19      https://www.nicb.org/HotWheels2019; NICB Releases Annual ‘Hot Wheels’ Report:
        America’s Top Ten Most Stolen Vehicles (Oct. 12, 2021),
20      https://www.nicb.org/news/news-releases/nicb-releases-annual-hot-wheels-report-
        americas-top-ten-most-stolen-vehicles.
21    86
         Greg Rosalsky, Someone stole my truck. I got a crash course on the wild black market
22      for stolen cars, NPR (Aug. 23, 2022, 6:30 AM),
        https://www.npr.org/sections/money/2022/08/23/1118457271/someone-stole-my-truck-
23      i-got-a-crash-course-on-the-wild-black-market-for-stolen-.
      87
         Chris DiLella & Andrea Day, TikTok challenge spurs rise in thefts of Kia, Hyundai
24      cars, CNBC (last updated Sept. 9, 2022, 9:11 PM),

                                                  49
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 1    detailed, a thief need only break a window, remove the plastic cowl under the steering

 2    column, and use a USB connector (such as the ubiquitous mobile phone charging cable)

 3    to turn the ignition switch and start these unsecure cars. In many instances, thieves are

 4    able to break into the Susceptible Vehicles and drive away in under one minute.

 5          162. What followed the trending documentation of the unsecure Susceptible

 6    Vehicles was all too predictable: thefts of Kias and Hyundais skyrocketed.88 In the first

 7    half of 2021, the number of stolen Kias and Hyundais in Milwaukee increased by more

 8    than thirty and fifteen times, respectively, when compared to the same period in 2020.89

 9    This dramatic increase was unique to Kias and Hyundais, which represented 67% of all

10    cars stolen in that period, compared to only 6% of stolen cars in 2019.90 This trend then

11    spread nationwide.
                   4.    Car Thefts Imperil Public Safety
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            163. Car thefts directly imperil public safety. By creating, facilitating, and/or
13
      otherwise contributing to a rash of car thefts, Defendants are responsible for a substantial
14
      risk to the public safety.
15

16

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18
        https://www.cnbc.com/2022/09/08/tiktok-challenge-spurs-rise-in-thefts-of-kia-hyundai-
19      cars.html.
      88
         Videos Show Teens How to Steal Certain Kias and Hyundais With Only a USB Cable,
20      Police Warn Amid Rising Thefts, Inside Edition (Aug. 10, 2022, 1:51 PM),
        https://www.insideedition.com/videos-show-teens-how-to-steal-certain-kias-and-
21
        hyundais-with-only-a-usb-cable-police-warn-amid.
      89
22       Sean Tucker, Milwaukee Police Report Hyundais, Kias Stolen in Record Numbers,
        Kelley Blue Book (Dec. 14, 2021, 5:27 PM), https://www.kbb.com/car-
23      news/milwaukee-police-report-hyundais-kias-stolen-in-record-numbers/.
      90
         Matt Posky, Summer of Theft Creating Bad Publicity for Hyundai, Kia, Truth About
24      Cars (Sept. 20, 2022), https://www.thetruthaboutcars.com/cars/kia/summer-of-theft-
        creating-bad-publicity-for-hyundai-kia-44496971.
                                                  50
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 1          164. NHTSA promulgated FMVSS 114 to reduce the instances of car theft,

 2    because “stolen cars constitute a major hazard to life and limb on the highways.”91 NHTSA

 3    concluded that the “evidence shows that cars operated by unauthorized persons are far

 4    more likely to cause unreasonable risk of accident, personal injury, and death than those

 5    which are driven by authorized individuals.”92 The NHTSA Administrator concluded that

 6    “a reduction in the incidence of auto theft would make a substantial contribution to motor

 7    vehicle safety,” by reducing both injuries and deaths to would-be car thieves, and by

 8    “protect[ing] the many innocent members of the public who are killed and injured by

 9    stolen cars each year.”93

10          165. The reverse is true as well. An increase in the incidence of automobile theft

11    results in a substantial decrease in public safety. Defendants’ decision to forego the

12    installation of immobilizer devices in the Susceptible Vehicles has led to a clear rise in

13    automobile thefts, and the concomitant threats to public safety. Stolen cars are often driven

14    recklessly—particularly in this case, where cars are stolen for joyriding or use in the

15    commission of other crimes, rather than for parts or resale—which poses a risk to both the

16    operators of the stolen vehicle and any lawful drivers or pedestrians who are unfortunate

17    enough to cross paths.

18          166. By creating a rash of car thefts, Defendants are responsible for a substantial

19    risk to public safety.

20          167. Reckless driving impacts the comfortable enjoyment of life, health, and

21    safety of others. Distinct from many instances of car theft, where the object is converting

22
      91
         See Motor Vehicle Safety Standard No. 114; Theft Protection; Passenger Cars, 33 Fed.
23      Reg. 6,471 (Apr. 27, 1968), https://www.govinfo.gov/content/pkg/FR-1968-04-
        27/pdf/FR-1968-04-27.pdf#page=1.
24    92
         Id.
      93
         Id.
                                                51
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 1    the stolen vehicle (either whole or in parts), the wave of Hyundai and Kia thefts often

 2    involves teenagers joyriding, posting videos of themselves driving recklessly, and then

 3    abandoning the stolen vehicles—often after collisions—at all hours of the day and night.

 4          168. Social media platforms are rife with examples of this dangerous conduct.

 5    Videos posted on these platforms highlight the very real dangers of this phenomenon,

 6    including youth joyriding through school zones or through crowds of bystanders, and

 7    drivers hitting other cars and then running from the scene.94 The fact that many of the

 8    perpetrators are juveniles and therefore inexperienced drivers—in many cases, too young

 9    to have a driver’s license or permit—adds to the danger. This risk was tragically

10    demonstrated in Columbus, Ohio, when a 4-year-old was killed in a hit-and-run involving

11    a stolen Kia.95

12          169. Police officers responding to vehicle thefts and other crimes stemming from

13    those same thefts also face serious safety threats. In Cleveland, officers have been shot,96

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      94
         See, e.g., @mixtapetrappers_, Instagram (Oct. 19, 2021),
17
        https://www.instagram.com/p/CVNhjg9D64B/?utm%20medium=copy%20link;
18     @414hypehouse, Instagram (Aug. 19, 2021),
        https://www.instagram.com/p/CSwsnhfAktd/; @414hypehouse, Instagram (Sept. 10,
19      2021), https://www.instagram.com/p/CTqCaYTANaC/; @414hypehouse, Instagram
        (Oct. 20, 2021), https://www.instagram.com/p/CVRCcU5AkwT/.
20    95
         Carly D’Eon, Man wanted in fatal hit-and-run of 4-year-old boy turns himself in,
        WBNS-10TV News (last updated July 24, 2023, 6:04 AM),
21
        https://www.10tv.com/article/news/local/arrest-warrant-issued-for-man-allegedly-
22      connected-to-fatal-hit-skip-south-franklinton/530-a8ab887d-8c43-48ea-8b4d-
        91ed5531a351.
23    96
         Julia Bingel, Cleveland police issue warrant for 17-year-old boy accused of shooting
        officer (body camera video), 19 News (last updated Mar. 30, 2023, 8:51 AM),
24      https://www.cleveland19.com/2023/03/30/cleveland-police-issue-warrant-17-year-old-
        male-accused-shooting-officer/.
                                                  52
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 1    shot at,97 and stabbed98 when responding to and/or encountering a Hyundai or Kia theft

 2    incident. In Tonawanda, a police officer stopped a driver in a stolen Kia Sportage SUV

 3    and was dragged and “thrown onto the road” when the driver of the stolen Kia attempted

 4    to flee. 99 The officer was badly injured and subsequently hospitalized.100

 5          170. A substantial risk to public safety also arises in the event that the would-be

 6    thief is confronted in the act. In January 2023, a Cleveland man followed a Hyundai Sonata

 7    that struck his car mirror and did not stop. The driver and passenger of the Hyundai got

 8    out of the vehicle with guns and began shooting at him.101 Police found nine bullet casings

 9    in the street and bullet holes in the front window of a nearby home and in a car parked on

10    the street.102 About one hour later, the same Hyundai, which had been reported stolen days

11    earlier, was involved in a drive-by shooting.103

12
      97
         Ed Gallek & Peggy Gallek, Thieves getting bolder: Police threatened, taunted, and
13
        shot by suspects in stolen KIAs, Fox 8 (last updated Mar. 20, 2023, 4:52 PM),
14      https://fox8.com/news/i-team/thieves-getting-bolder-police-threatened-taunted-and-
        shot-by-suspects-in-stolen-kias/.
      98
15       Ed Gallek & Peggy Gallek, Cleveland police officer stabbed in head with screwdriver,
        Fox 8 (last updated June 12, 2023, 2:12 PM), https://fox8.com/news/cleveland-police-
16      officer-stabbed-in-head-with-screwdriver/; see also John H. Tucker, Suspect charged in
        screwdriver assault on off-duty Cleveland police officer, Cleveland.com (last updated
17
        June 15, 2023, 4:34 PM), https://www.cleveland.com/crime/2023/06/suspect-charged-
18      in-screwdriver-assault-on-off-duty-cleveland-police-officer.html.
      99
         Stephen T. Watson, Tonawanda officer badly injured when dragged by stolen vehicle is
19      released from ECMC, Buffalo News (June 5, 2023),
        https://buffalonews.com/news/local/crime-and-courts/tonawanda-officer-badly-injured-
20      when-dragged-by-stolen-vehicle-is-released-from-ecmc/article_4768ae48-03d4-11ee-
        8593-4322704cd734.html.
21    100
         Id.
      101
22        Cory Shaffer, Teens Lodge stolen Hyundai in Burger King drive-thru on two wheels
        after owner confronts them, Cleveland.com (Feb. 3, 2023, 5:03 PM),
23      https://www.cleveland.com/court-justice/2023/02/teens-lodge-stolen-hyundai-in-burger-
        king-drive-thru-on-two-wheels-after-owner-confronts-them.html.
24    102
          Id.
      103
          Id.
                                                   53
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 1          171. Car thefts and reckless driving also create a substantial risk of physical harm

 2    to pedestrian bystanders. On February 8, 2023, a stolen Hyundai involved in a high-speed

 3    chase in Baltimore crashed into another car and a 54-year-old pedestrian.104 Both cars

 4    careened into a nearby building, which collapsed on top of the vehicles and the

 5    pedestrian.105 The pedestrian was pronounced dead at the scene, and five occupants of the

 6    two cars were injured.106

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                   5.    Car Thefts Drain Public Resources and Frustrate Public Policy
16
            172. The Ohio GE Plaintiffs have expended significant time and resources
17
      responding to this public nuisance.
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      104
22        Dan Belson, Footage shows fatal crash into Baltimore building, collapse following
        police pursuit of stolen car, Balt. Sun (last updated Mar 3, 2023, 9:13 PM),
23      https://www.baltimoresun.com/news/crime/bs-md-ci-cr-oag-crash-collapse-footage-
        20230303-rbd6j3tokfhkjduh3oktmo6ow4-story.html [https://perma.cc/6UHA-S9GT].
24    105
          Id.
      106
          Id.
                                                    54
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 1          173. Additionally, the opportunity costs of expending significant police and

 2    emergency services on these thefts has deprived the Ohio GE Plaintiffs of the ability to

 3    combat other crimes or otherwise focus on community protection.107

 4          174. As a result of the skyrocketing rate of theft of Hyundai and Kia vehicles

 5    nationwide, some insurance companies refused to write policies for certain Hyundai and

 6    Kia models in major cities, thereby increasing the potential number of uninsured motorists

 7    on the road.108
                    B.     The Continuing Public Nuisance and Defendants’ Late,
 8                         Insufficient Response
 9          175. The rampant thefts and attempted thefts of Hyundai and Kia vehicles
10    continue to impact the Ohio GE Plaintiffs, years after the rise in thefts and attempted thefts
11    of the Susceptible Vehicles first began.109
12

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      107
14        See John Roman & Graham Farrell, Cost-Benefit Analysis for Crime Prevention:
        Opportunity Costs, Routine Savings and Crime Externalities, 14 Crime Prevention Stud.
15      53 (Jan. 2002), https://www.researchgate.net/publication/28575336_Cost-
        Benefit_Analysis_for_Crime_Prevention_Opportunity_Costs_Routine_Savings_and_Cr
16      ime_Externalities.
      108
          Peter Valdes-Dapena, Some auto insurers are refusing to cover certain Hyundai and
17
        Kia models, CNN (last updated Jan. 28, 2023, 3:06 PM),
18      https://www.cnn.com/2023/01/27/business/progressive-state-farm-hyundai-
        kia/index.html; see also Robert Higgs, Progressive, State Farm halt new car insurance
19      policies for high theft models of Kia and Hyundai, Cleveland.com (Jan. 31, 2023, 1:06
        PM), https://www.cleveland.com/business/2023/01/progressive-state-farm-halt-new-
20      car-insurance-policies-for-high-theft-models-of-kia-and-hyundai.html; see also Joe
        Hernandez, Dealers still sell Hyundais and Kias vulnerable to theft, but insurance is
21
        hard to get, NPR (May 4, 2023, 5:00 AM),
22      https://www.npr.org/2023/05/04/1173048646/hyundai-kia-car-theft-tiktok-insurance-
        dealerships (discussing how “a dozen” insurance companies denied coverage for the
23      new owner of 2020 Kia Forte).
      109
          Tom Krisher, Hyundai and Kia thefts keep rising despite security fix, AP News (May
24      9, 2023, 7:40 AM), https://apnews.com/article/hyundai-kia-tiktok-theft-stolen-
        8e0a353d24be0e7bce36e34c5e4dac51.
                                                   55
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 1          176. Data from the Council on Criminal Justice shows that between 2019 and 2023

 2    motor vehicle theft has increased an average of 104% across 30 cities in the United

 3    States.110 This includes certain cities, such as Buffalo, Cincinnati, Rochester, Seattle, and

 4    St. Louis that are also plaintiffs in this MDL.111

 5          177. Defendants’ responses to the crises that they have created show they continue

 6    to prioritize profits over safety. Defendants have refused to implement a recall to install

 7    engine immobilizers in the Susceptible Vehicles, initially only suggesting that owners of

 8    Susceptible Vehicles use wheel locks and, for some municipalities, offering wheel locks

 9    for them to distribute.112 Unfortunately, the wheel locks are not entirely effective;

10    Susceptible Vehicles with wheel locks in use have still been stolen and, in some instances,

11    used in connection with other crimes, including shootings.113 In addition, municipalities

12    are not set up to distribute automotive parts to residents.

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      110
15        Ernesto Lopez et al., Crime Trends in U.S. Cities: Mid-Year 2023 Update, Council
        Crim. Just. (July 2023), https://counciloncj.org/mid-year-2023-crime-trends/.
16    111
          Id.
      112
          Elliot Hughes, Kia, Hyundai will make security feature standard on new vehicles and
17
        distribute free steering wheel locks after surge of thefts, Milwaukee J. Sentinel (last
18      updated July 21, 2021, 11:20 AM),
        https://www.jsonline.com/story/news/crime/2021/07/19/kia-hyundai-handing-out-free-
19      steering-wheel-locks-through-end-year/7963950002/.
      113
          Ashley Sears, Milwaukee woman’s Kia stolen twice, had steering wheel lock, FOX 6
20      News Milwaukee (Sept. 28, 2021, 8:59 PM),
        https://www.fox6now.com/news/milwaukee-womans-kia-stolen-twice; see also David
21
        Rose, ‘B****, I swear, b****, I’m gonna crack your phone:’ Drive-by shooting suspect
22      says to Tacoma woman, FOX 13 Seattle (Jan. 25, 2023, 3:01 PM),
        https://www.q13fox.com/news/b-i-swear-b-im-gonna-crack-your-phone-drive-by-
23      shooting-suspect-says-to-tacoma-woman; and Boy, 15, fighting for his life after shooting
        involving stolen Kia in Minneapolis, CBS News Minnesota (Apr. 6, 2023),
24      https://www.cbsnews.com/minnesota/video/boy-15-fighting-for-his-life-after-shooting-
        involving-stolen-kia-in-minneapolis/.
                                                    56
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 1          178. Hyundai and Kia rolled out a “software update” rather than installing

 2    immobilizers or other effective anti-theft technology.114 As highlighted in the multistate

 3    letter sent on behalf of 18 Attorneys General, Hyundai acknowledged that some of the

 4    affected vehicles cannot be updated, and Kia “confirmed that some unspecified number

 5    of affected vehicles cannot receive the updates.”115

 6          179. As acknowledged in the motion for preliminary approval of the class action

 7    settlement in the instant litigation, only 6.9 million of the approximately 9 million

 8    Susceptible Vehicles are even eligible for the update.116

 9          180. In the three months immediately following Kia’s and Hyundai’s release of

10    the software update, data gathered from the Associated Press showed “that the number of

11    Hyundai and Kia thefts [was] still growing[.]”117 The software update has not stopped the

12    nuisance that the Susceptible Vehicles created and the expenses that the Ohio GE Plaintiffs

13    have incurred and continue to incur.

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15
      114
          NHTSA, Hyundai and Kia Launch Service Campaign to Prevent Theft of Millions of
16      Vehicles Targeted by Social Media Challenge (Feb. 14, 2023),
        https://www.nhtsa.gov/press-releases/hyundai-kia-campaign-prevent-vehicle-theft.
17    115
          Letter from Attorneys General to Ann Carlson, Acting Administrator of the National
18      Highway Traffic Safety Administration (“Letter from Attorneys General to NHTSA”) at
        6 (Apr. 20, 2023), https://oag.dc.gov/sites/default/files/2023-
19      04/AG%20Multistate%20Letter%20to%20NHTSA%204.20.2023%20%281%29.pdf.
      116
          Consumer Class Pls.’ Notice Mot. & Mot. Prelim. Approval Class Action Settlement
20      at 12, In Re: Kia Hyundai Vehicle Theft Marketing, Sales Practices, and Products
        Liability Litigation, 8:22-ml-03052-JVS-KES (C.D. Cal. July 20, 2023), ECF No. 166;
21
        see also Carly Schaffner, Kia, Hyundai anti-theft software fixes a work in progress,
22      Auto. News (June 2, 2023, 5:00 AM), https://www.autonews.com/regulation-safety/kia-
        hyundai-antitheft-software-fix-needs-fixes [https://perma.cc/HGH7-ZHZF] (noting that
23      Defendants estimate “there are 9 million affected vehicles between them on the road”).
      117
          See Tom Krisher, Hyundai and Kia thefts keep rising despite security fix, AP News
24      (May 9, 2023, 7:40 AM), https://apnews.com/article/hyundai-kia-tiktok-theft-stolen-
        8e0a353d24be0e7bce36e34c5e4dac51.
                                                   57
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 1          181. The efficacy of the update’s efficacy has not been proven in the real world.

 2    There have been numerous reports of Kia and Hyundai vehicles being stolen after

 3    receiving the software update, and Kia and Hyundai have identified scenarios where the

 4    software logic fails.118 For vehicles not covered by the update, Defendants are offering

 5    nothing more than steering wheel locks, or rebates for already purchased wheel locks.119

 6    As noted by multiple Attorneys General, steering wheel locks “still would not correct the

 7    underlying safety flaw . . . and . . . would impermissibly shift the responsibility for fixing

 8    this problem from the company to the individual vehicle owners.”120

 9          182. The Ohio GE Plaintiffs are aware of thefts of Hyundai and Kia vehicles that

10    have received the software “fix.” Because the software update requires the vehicle’s doors

11    to be locked, thieves are apparently able to bypass the software by breaking and removing

12    the driver’s side door handle.121 News reports have indicated that thieves can easily

13    circumvent or defeat the software update “fix” through such simple means without using

14    118
          Carly Shaffner, Kia, Hyundai anti-theft software fixes a work in progress, Auto. News
15      (June 2, 2023, 5:00 AM), https://www.autonews.com/regulation-safety/kia-hyundai-
        antitheft-software-fix-needs-fixes [https://perma.cc/HGH7-ZHZF] (discussing a
16      February 2023 service bulletin issued from Kia to its dealers regarding a software
        compatibility issue for Kia vehicles equipped with remote start accessories; another
17
        bulletin issued from Kia in late-May of 2023 acknowledged that “the problem has not
18      been remedied”).
      119
          See Zac Palmer, Hyundai launch software update to stop TikTok car thefts
19      [UPDATE], AutoBlog (Feb. 14, 2023, 10:58 AM),
        https://www.autoblog.com/carbuying/hyundai-launches-software-update-to-fight-thefts.
20    120
          Letter from Attorneys General to NHTSA at 6.
      121
          See, e.g., Valerie Lyons, This College Hill Man Got an Anti Theft Software Upgrade
21
        Installed. His Car Was Stolen Two Days Later, WCPO (last updated Feb. 26, 2025, 7:55
22      AM), https://www.wcpo.com/news/local-news/hamilton-county/cincinnati/college-
        hill/this-college-hill-man-got-an-anti-theft-software-upgrade-installed-his-car-was-
23      stolen-two-days-later; Bogan Popa, Her Hyundai Was Stolen by the Kia Boys, So She
        Got It Patched, Now It Got Stolen Again, Autoevolution (Oct. 1, 2024, 9:38 AM),
24      https://www.autoevolution.com/news/her-hyundai-was-stolen-by-the-kia-boys-so-she-
        got-it-patched-now-it-got-stolen-again-240666.html.
                                                    58
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 1    any sophisticated tools. On information and belief, such method would not defeat an

 2    engine immobilizer or other reasonable anti-theft technology.122

 3          183. On information and belief, Hyundai and Kia each knew or should have

 4    known that the software update could easily be defeated. Hyundai and Kia rolled out the

 5    software “fix” despite this significant vulnerability.

 6          184. In addition, upon information and belief, the software update can significantly

 7    inconvenience the drivers of the Susceptible Vehicles, making them less likely to seek it

 8    out. Rather than install an actual immobilizer, the software update doubles the length of

 9    the vehicles’ theft alarm sound and adds a new logic check to the vehicles’ onboard

10    computers that is intended to prevent the Engine Control Unit from allowing the engine

11    to start and run if the key fob is not used to unlock the doors. This update will interfere

12    with the usability of the Susceptible Vehicles in many everyday situations.

13          185. As noted by the Attorneys General in their letter dated April 20, 2023, there

14    are at least two other significant issues with the software update. First, “not all eligible

15    vehicles can receive the updates immediately”—approximately two million vehicles with

16    the “starting system flaw” are were then still awaiting eligibility for the update.123

17    122
          See, e.g., Bailey Shulz, How Effective Is the Hyundai, Kia Anti Theft Software? New
18      Study Offers Insights, USA Today (last updated Aug. 7, 2024, 10:46 AM),
        https://www.usatoday.com/story/money/cars/2024/08/07/kia-hyundai-software-upgrade-
19      cut-thefts/74691719007/; Brittany Roston, The ‘Kia Boys’ Stole My Hyundai, Here’s
        What Happened Next, SlashGear (Aug. 17, 2024, 4:45 PM),
20      https://www.slashgear.com/1643133/kia-boys-stole-hyundai-tiktok-challenge-what-
        happened/.
21    123
          Letter from Attorneys General to NHTSA at 6–7. Additionally, media outlets report
22      that customers are “having a difficult time getting through” to customer service
        representatives for Hyundai and Kia to inquire about the software update and their
23      vehicle’s eligibility. See Hyundai, Kia owners frustrated by customer call center wait
        times to get security upgrade, WHIO TV 7 (Feb. 16, 2023, 8:47 PM),
24      https://www.whio.com/news/crime-and-law/hyundai-kia-owners-frustrated-by-

                                                   59
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 1    Meanwhile, these vehicles “will remain on the road, vulnerable to theft and posing a threat

 2    to public safety.”124 Second, Defendants’ “voluntary service campaign” does not prompt

 3    certain “regulatory requirements and oversight and instead places additional burdens on

 4    individual vehicle owners.”125

 5          186. Owners of the Susceptible Vehicles have already experienced issues where

 6    the software update—which requires the car to be unlocked using the fob before starting,

 7    failing which the alarm will sound—conflicts with after-market remote start systems that

 8    they had installed, rendering the vehicles functionally inoperable. As one owner recently

 9    posted: “I have the update, I also have an aftermarket remote start. The remote start will

10    set off my car alarm. You can turn the alarm off, but it will beep periodically and the

11    headlights flash until you turn the vehicle off.”126

12          187. There can be no doubt that communities nationwide are suffering harmful

13    downstream consequences because of business decisions Hyundai and Kia made not to

14    include immobilizer technology in certain vehicles. And as local governments have

15    experienced nationwide when vaping products and drugs have unleashed widespread

16    harms affecting public health and safety, local communities are left paying the price for

17    others’ business decisions to boost profits.

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        customer-call-center-wait-times-get-security-update/SXRBN3OTHVC37OLC3735Y
21
        755ZU/.
      124
22        Letter from Attorneys General to NHTSA at 7.
      125
          Id.
23    126
          Sanguine_Supposedly, Reddit.com (Feb. 15, 2023, 10:23 AM),
        https://www.reddit.com/r/kia/comments/11303m4/comment/j8nxere/
24      [https://web.archive.org/web/20230215182437/https://www.reddit.com/r/kia/comments/
        11303m4/comment/j8nxere/].
                                                 60
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 1           188. Prior to this software update, Hyundai turned this crisis of its own making

 2    into a source of revenue, selling security kits for $170, plus the cost of installation.127

 3    Defendants could have, and should have, initially included a fob-integrated engine

 4    immobilizer, consistent with the industry standard. Even after the cars were sold,

 5    Defendants could have implemented a mandatory recall. Instead, Hyundai chose to make

 6    money from a crime wave it caused.

 7           189. Because Hyundai and Kia have not implemented a mandatory recall for the

 8    installation of immobilizers, millions of the Susceptible Vehicles remain on the road. A

 9    recent 2023 report from CARFAX found that 4.9 million Hyundais and Kias remain

10    susceptible to theft.128

11           190. By electing profits over safety and deviating from the industry standard by

12    not including engine immobilizers as a standard safety feature, Defendants have created a

13    public nuisance that continues to this day.

14           C.     Columbus, Ohio

15           191. The City of Columbus has been, and continues to be, significantly damaged

16    by the thefts of Kia’s and Hyundai’s extremely vulnerable cars.

17           192. Sitting in the Midwest where the crime-wave began, the rise of car thefts in

18    Columbus began in late 2021, fueled in the summer of 2022 when viral online trends

19    publicized Kia’s and Hyundai’s security flaws. The ease to which the cars’ vulnerabilities

20    could be exposed found a ready audience in children in particular. Indeed, in 2022,

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22
      127
          Sebastian Blanco, Hyundai Charging Customers $170 for a Kit to Protect Its Easy-to-
23      Steal Cars, Car and Driver (Oct. 1, 2022), https://www.caranddriver.com/news/a4147
        7937/hyundai-security-kit-easy-to-steal-models/.
24    128
          Patrick Olsen, Nearly 5 Million Hyundai and Kia Models Need Anti-Theft Repairs,
        CARFAX Blog (July 19, 2023), https://www.carfax.com/blog/kia-hyundai-theft-repairs.
                                                  61
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 1    Columbus police arrested an 11-year-old boy for stealing a Kia; just seven days later, he

 2    was arrested for stealing a Hyundai.129

 3          193. The relative youth of the car thieves, and their limited experience with

 4    driving, also makes post-theft accidents even more likely. In the same month in which the

 5    11-year-old was arrested twice, a 14-year-old died after he lost control of a stolen Hyundai

 6    while driving 80 miles per hour. One of the passengers, the same age, also died with

 7    another 14-year-old seriously injured.130

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      129
          Lacey Crisp, Columbus non-profit aims to help juvenile car thieves, WBNS-10TV
21
        News (Aug. 10, 2022, 10:42 PM), https://www.10tv.com/article/news/crime/columbus-
22      dream-aims-to-help-juvenile-car-thieves/530-47d58521-b856-4ce4-84ec-3abd3a2f7216.
      130
          Bri Buckley, “You’re driving yourself into an early grave,” leaders calls for teen car
23      theft to stop, ABC 6 (last updated Oct. 13, 2022, 1:01 PM),
        https://abc6onyourside.com/news/local/youre-driving-yourself-into-an-early-grave-
24      community-religious-leaders-calls-for-teen-car-theft-to-stop-real-kia-boys-hyundai-
        fatal-crash-we-are-linden-columbus-franklin-county-ohio.
                                                   62
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 1           194. Yet another repeat offender survived one crash only to later collide with a

 2    garbage truck owned by the City of Columbus, totaling the garbage truck and sending four

 3    Columbus teenagers to the hospital.131

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             195. The victims of these thefts include, of course, law enforcement officers
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      tasked with protecting Columbus. For instance, one police cruiser was struck by a stolen
17
      Kia in early 2023, driven by two teens suspected of being involved in a robbery; as the
18
      teens ran off, the officer was left pinned inside the police cruiser with head and neck
19
      injuries.132
20
      131
          Steve Levine, Police in Central Ohio say teens stealing cars is now a trend that is
21
        escalating quickly, ABC 6 (last updated Aug. 17, 2022, 6:34 PM),
22      https://abc6onyourside.com/news/local/police-in-central-ohio-say-teens-stealing-cars-is-
        now-a-trend-that-is-escalating-quickly-whitehall-columbus-real-kia-boys-franklin-
23      county-sheriffs-office.
      132
          WSYX Staff, Officer pinned in cruiser following collision with Kia allegedly stolen by
24      teens, ABC 6 (last updated Feb. 28, 2023, 12:34 PM),

                                                 63
     Case 8:22-ml-03052-JVS-KES       Document 912 Filed 07/01/25      Page 68 of 102 Page
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            196. Nor is the damage limited to the car owners, the cars, the thieves/passengers,
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      and public employees. Stolen vehicles, unsurprisingly, can be used as the means for further
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      criminal acts, both direct and indirect. Stolen cars have been used as weapons by ramming
15
      Columbus police cruisers in an attempt to escape. They have further been used as battering
16
      rams to break into stores.133
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        https://abc6onyourside.com/news/local/law-enforcement-involved-in-crash-columbus-
20      police-confirm-involves-stolen-vehicle-walford-avenue-elmore-avenue.
      133
          Police: Teen boy steals Hyundai from body shop, crashes it into Franklinton tech
21
        store, WBNS-10TV News (last updated June 22, 2023, 1:12 PM),
22      https://www.10tv.com/article/news/crime/stolen-vehicle-crash-columbus-
        franklinton/530-025d3cfb-b36e-47d9-9e9d-da4143fd698c; Police: Suspected stolen
23      vehicle crashes into east Columbus discount store, WBNS-10TV News (last updated
        June 12, 2023, 7:52 PM), https://www.10tv.com/article/news/crime/suspected-stolen-
24      vehicle-crash-family-dollar-east-columbus/530-49a3c6db-9b95-4d69-8df2-
        3cd535a6938b.
                                                 64
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12          197. Or, once stolen, they are further sold or used by others who knowingly
13    receive stolen property. This was precisely the scenario that led to four Columbus
14    firefighters and five juveniles ending up in the hospital after the juveniles’ previously
15    stolen Kia collided with a firetruck. The driver was a 12-year-old.134
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23    134
         WSYX Staff, 12-year-old boy behind wheel of stolen car that crashed into Columbus
       fire engine, ABC 6 (last updated May 31, 2023, 6:28 AM),
24     https://abc6onyourside.com/news/local/12-year-old-boy-behind-wheel-of-stolen-car-
       that-crashed-into-columbus-fire-engine#.
                                                65
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 1          198. Miraculously avoiding tragedy (apparently twice), stolen vehicles have even

 2    crashed at elementary school playgrounds.135

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            199. Tragically, on July 22, 2023, a 4-year-old pedestrian was struck and killed by
12
      a suspect fleeing a traffic stop and driving recklessly through an apartment complex in a
13
      stolen Kia.136
14
            200. Over Memorial Day weekend in 2023, for example, at least 45 Kias and
15
      Hyundais were stolen (nearly 75% of all cars stolen), including at least one vehicle,
16
      ironically, that already had the Kia-issued anti-theft device installed.137
17
      135
18        Police: Driver crashes suspected stolen Hyundai into East Linden Elementary School
        playground, WBNS-10TV News (last updated May 23, 2023, 7:46 AM),
19      https://www.10tv.com/article/news/crime/stolen-vehicle-crash-east-linden-elementary-
        school-playground/530-ec5020d0-6311-4b95-9507-bf2eac6c8ae8.
20    136
          Carly D’Eon, Man wanted in fatal hit-and-run of 4-year-old boy turns himself in,
        WBNS-10TV News (last updated July 24, 2023, 6:04 AM),
21
        https://www.10tv.com/article/news/local/arrest-warrant-issued-for-man-allegedly-
22      connected-to-fatal-hit-skip-south-franklinton/530-a8ab887d-8c43-48ea-8b4d-
        91ed5531a351.
23    137
          Steve Levine, Lancaster family’s Kia stolen in Columbus weeks after anti-theft device
        installed in car, ABC6 (last updated May 31, 2023, 6:33 AM),
24      https://abc6onyourside.com/news/local/lancaster-familys-kia-stolen-in-columbus-

                                                   66
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 1          201. It is important to remember, moreover, that all of these secondary impacts

 2    (beyond just the thefts themselves) are not captured in the raw “theft only” data, although

 3    it certainly leads to documented harm. These are just a few of the examples of damages

 4    inherent within a secondary market of unsafe and stolen vehicles.

 5          202. But despite all the publicity and all the effort of its employees, the thefts in

 6    Columbus during 2022 and 2023 were eye-watering and to this day still outpace other

 7    manufacturers on a one-to-one basis and continue to be stolen at rates that eclipse

 8    historical levels that preceded the theft wave.

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24     weeks-after-new-anti-theft-device-installed-vehicle-theft-kia-hyundai-vandalism-anti-
       theft-device-crime-central-ohio.
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 1          203. In both 2022 and 2023, Columbus police officers spent over 4,500 hours

 2    responding to stolen Kia and Hyundai incidents, simply to complete theft reports.

 3    Compare this to 550 hours in 2020 before the crime wave started in 2021, which only

 4    resulted in over 900 hours for that year. This does not include the additional time spent

 5    completing follow-up detective work, recovering the vehicle, processing any arrest, or

 6    prosecuting cases. And, of course, every hour spent on abating the nuisance is one less

 7    hour spent preventing or responding to the City of Columbus’ other pressing needs.

 8          204. All told, the harm to the City of Columbus has been extreme.

 9          D.      Cleveland, Ohio

10          205. The Cleveland Police Department has also experienced a considerable

11    increase in Hyundai and Kia vehicle theft, starting in July 2022. As of the date of this

12    filing, Hyundai and Kia vehicles continue to be stolen at rates that eclipse historical levels

13    that preceded the theft wave.

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 1
                   Motor Vehicle Theft Trend in Cleveland Jan. 2022 – May 2025
 2       350
 3       300

 4       250
         200
 5
         150
 6
         100
 7
          50
 8
           0
               Jan. '22
               Mar. '22
               May '22
                           Jul. '22
                          Sept. '22
                                      Nov. '22


                                                            Mar. '23
                                                                       May '23
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                                                                                                                                                      May '25
                                                 Jan. '23


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11                                       Hyundai                                     Kia          Other Make

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            206. Between October and December 2022, nearly 1,200 Hyundai and Kia
13
      vehicles were stolen in Cleveland. In December 2022 alone, Hyundais and Kias accounted
14
      for approximately 66% of total vehicle theft in Cleveland. Hyundai and Kia vehicles made
15
      up nearly half of all vehicle thefts in Cleveland for May 2023. Hyundais and Kias continue
16
      to be stolen at higher rates than other vehicle makes, and that heightened rate of theft
17
      continues to impact Cleveland to this day. In May of 2025, Hyundai and Kia vehicles
18
      made up nearly 36% of all vehicle thefts compared to only 7.6% during that same period
19
      in 2020. For all of 2020 and 2021, Hyundais and Kias made up only about 8% of vehicle
20
      thefts. By contrast, approximately 38.9% of all vehicles stolen in 2024 were Hyundais and
21
      Kias. As of May 2025, Hyundais and Kias accounted for 32.9% of all vehicle thefts in
22
      Cleveland in 2025. That heightened rate of theft, as depicted above, continues to impact
23
      Cleveland to this day
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 1          207. This phenomenon of thefts has led to extreme and harmful incidents in

 2    Cleveland. In January 2023, in one week alone, there were at least three stolen car police

 3    pursuits in the greater Cleveland area, two of which ended in crashes.138 One of the crashes

 4    involved a stolen Kia that drove across four lanes of traffic, clipped a charter bus carrying

 5    members of the Baldwin Wallace University swim team, and crashed into a retaining

 6    wall.139

 7          208. In January 2023, a man in Cleveland reported that his Hyundai was stolen.

 8    While driving his other car, a Kia Rio, the man spotted his stolen Hyundai at a Burger

 9    King drive thru. When he attempted to block the Hyundai, two teenagers in the stolen car

10    rammed the man’s Kia against the restaurant.140 Police reported that the incident was part

11    of a three-day crime spree involving two shootings within an hour of each other that the

12    driver of the stolen Hyundai helped carry out.141

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      138
          Bryn Caswell, Dash-cam video shows wrong-way crash on I-480; third stolen car
19      pursuit in a week, News 5 Cleveland (last updated Feb. 1, 2023, 4:17 PM),
        https://www.news5cleveland.com/news/local-news/dash-cam-video-shows-wrong-way-
20      crash-on-i-480-third-stolen-car-pursuit-in-a-week.
      139
          Laura Morrison, Baldwin Wallace swim team bus hit by stolen vehicle: Police, Fox 8
21
        (last updated Jan. 30, 2023, 9:22 AM), https://fox8.com/news/baldwin-wallace-swim-
22      team-bus-hit-by-stolen-vehicle-police/.
      140
          Cory Shaffer, Teens lodge stolen Hyundai in Burger King drive-thru on two wheels
23      after owner confronts them, Cleveland.com (Feb. 3, 2023, 5:03 PM),
        (https://www.cleveland.com/court-justice/2023/02/teens-lodge-stolen-hyundai-in-
24      burger-king-drive-thru-on-two-wheels-after-owner-confronts-them.html.
      141
          Id.
                                                  71
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11          209. In July 2023, officers arrested 12 juveniles between the ages of 13 and 17

12    “for allegedly viciously attacking an innocent man at a gas station.”142 The suspects

13    included nine boys and three girls, all of whom arrived at the gas station in three vehicles,

14    later confirmed to be Kias and Hyundais stolen one day prior.143 The suspects also fired

15    “weapons in the parking lot of the gas station and down St. Clair Avenue.”144

16          210. As discussed above, several Cleveland police officers have also been injured,

17    both on and off duty, in responding to Hyundai and Kia vehicle thefts. A Cleveland police

18    officer sustained gunshot wounds to his thigh and arm while investigating Hyundai and

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      142
22        Julia Bingel, Video: 12 teens beat man, fire guns at Cleveland gas station, Cuyahoga
        County prosecutor says, 19 News (last updated July 26, 2023, 12:09 PM),
23      https://www.cleveland19.com/2023/07/26/12-juveniles-beat-man-fire-weapons-
        cleveland-gas-station-according-cuyahoga-county-prosecutor/.
24    143
          Id. at 00:30.
      144
          Id.
                                                  72
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 1    Kia thefts in the area.145 Two other officers crashed their squad car when responding to

 2    the incident and were subsequently hospitalized.146

 3          211. In June 2023, two teenage suspects slashed an off-duty Cleveland police

 4    officer in the head after the officer attempted to prevent the suspects from taking the

 5    officer’s personal Kia Sorento.147

 6          E.      Cincinnati, Ohio

 7          212. The same vehicle theft trend is evident in Cincinnati, where, for example Kia

 8    and Hyundai vehicles accounted for 72% of reported auto thefts or attempts in February

 9    2023, compared to only 8% of thefts in February 2022.

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      145
18         Molly Walsh, Cleveland officer shot, others injured in crash, during pursuit of vehicle
        theft suspects, Police 1 (Mar. 16, 2023, 10:44 AM), https://www.police1.com/officer-
19      safety/articles/cleveland-officer-shot-others-injured-in-crash-during-pursuit-of-vehicle-
        theft-suspects-NI3BdH9MK9clYfIx/.
20    146
           Id.
      147
           Ryan Haidet, Suspects wanted after off-duty Cleveland police officer ‘slashed in the
21
         head with a screwdriver’ during weekend robbery, WKYC.com (last updated June 13,
22       2023, 5:54 AM), https://www.wkyc.com/article/news/local/cleveland/off-duty-
         cleveland-officer-slashed-screwdriver-robbery/95-05768479-0c01-4b1a-80d9-
23       949dd5159996; see also Alec Sapolin & Sia Nyorkor, Off-duty Cleveland officer
         slashed in the head with screwdriver by car thieves, Cleveland 19 News (last updated
24       June 12, 2023, 12:14 PM), https://www.cleveland19.com/2023/06/12/off-duty-
         cleveland-officer-slashed-head-with-screwdriver-by-car-thieves/.
                                                   73
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            213. According to Cincinnati Police Department data on attempted and completed
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      auto theft, when comparing 2021 to 2022 there was a 416.6% increase in Kia and Hyundai
13
      theft. During the same time period, there was a 3.6% decrease in auto theft for all other
14
      vehicle makes. This trend persisted into 2023, and 72% of attempted or completed auto
15
      thefts in Cincinnati involve a Kia or Hyundai vehicle. Up until July 2022, Kia and Hyundai
16
      vehicles consistently combined to account for less than 20 attempted or completed thefts
17
      per month. In July 2022, that number spiked to 150, and in February 2023 that number
18
      approached 250, a more than 1,000% increase over the historical norm. The number of
19
      Hyundai and Kia vehicle thefts in Cincinnati skyrocketed in 2023.
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13          214. In May 2023, a record-high 137 Hyundai vehicles were stolen. The 595
14    Hyundai vehicles stolen between January and June 2023 represent a 1,114% increase from
15    the 49 Hyundai vehicles stolen between January and June 2022. Similarly, the 393 Kia
16    vehicles stolen between January and June 2023 represented an 859% increase from the 41
17    Kia vehicles stolen between January and June 2022.
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13          215. As the theft of Hyundai and Kia vehicles dramatically increased, Cincinnati’s
14    police officers had to divert resources to account for the rash of thefts. The graph below
15    shows the spike in officer time spent responding to a scene where a Hyundai or Kia vehicle
16    is included in the dispatcher notes for an auto theft or auto theft recovery call.
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10          216. The substantial rise in thefts presents a risk not only for property damage, but

11    to public safety, as thieves often engage in reckless driving, as well as other dangerous

12    criminal conduct, including robbery and firearm thefts.

13          217. Specifically, Hyundai and Kia vehicles have been targeted by thieves seeking

14    weapons (and other valuables) that might have been left in patrons’ vehicles. From January

15    2020 to May 2025, just under 30% of all firearms reported stolen in an auto theft came

16    from a Hyundai or Kia vehicle. Only two such thefts were reported in all of 2020 and 2021

17    combined.

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            218. Turning to reckless driving, in 2020, stolen Hyundais and Kias were involved
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      in 15 crashes. In 2021, 13 such crashes occurred. In the first half of 2022, there were four
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      such crashes, before a meteoric jump to 21 crashes involving stolen Kia and Hyundai
20
      vehicles in the second half of 2022. In 2023, there were dozens of reckless driving
21
      incidents and crashes involving stolen Kias and Hyundais in 2023, dwarfing the number
22
      of total number of such incidents in 2020.
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12          219. The phenomenon of rampant Hyundai and Kia thefts in Cincinnati has led to

13    extreme and tragic accidents. On August 28, 2021, a 14-year-old driving a stolen Hyundai

14    Elantra crashed when exiting I-71 at Ridge Road in Cincinnati.148 The stolen car crashed

15    into a pole, hitting a tree before coming to rest on its side.149 The 14-year-old driver was

16    partially ejected from the vehicle and pronounced dead at the scene, and a 13-year-old

17    passenger suffered injuries.150

18          220. On July 8, 2022, at approximately 6:20 p.m., police observed a stolen 2014

19    Kia Rio being driven in the Queensgate neighborhood by a 13-year-old.151 The youth was

20    148
          Kaitlin Lewis, Hamilton County Sheriff: one dead in Saturday morning crash
         involving two juveniles, Cincinnati Enquirer (Aug. 28, 2021, 4:23 PM),
21
         https://www.cincinnati.com/story/news/2021/08/28/hamilton-county-sheriff-one-dead-
22       car-crash-involving-two-juveniles/5637645001/.
      149
          Id.
23    150
          Id.
      151
          Luke Jones, Teen who crashed in car with 13-year-old driver: We was running from
24      the police, Local 12 (last updated July 12, 2022, 12:03 AM),

                                                   79
     Case 8:22-ml-03052-JVS-KES       Document 912 Filed 07/01/25      Page 84 of 102 Page
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 1    attempting to turn onto Kenner Street from Dalton Avenue, when he lost control of the car

 2    and crashed into metal poles and a transformer box.152 A 12-year-old passenger was

 3    seriously injured in the resulting crash.153

 4          221. Around this same time, a local woman in Cincinnati discovered that her 2019

 5    Kia Forte was stolen outside of her apartment building—the car was subsequently

 6    wrecked and abandoned.154 Contents inside the car, including the car seat for her small

 7    child, were gone.155

 8          222. On February 8, 2023, a police chase involving a stolen Hyundai ended in a

 9    crash in the College Hill neighborhood, damaging a six-foot-tall brick pillar and fence.156

10          223. Cincinnati police have reported multiple incidents of drive-by shootings

11    involving stolen Hyundai vehicles. On May 31, 2023, an adult male and three juveniles,

12    ages 10, 14, and 15, were shot in a drive-by shooting involving a 2017 Hyundai Sonata

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14
15      https://local12.com/news/local/teens-joyride-police-chase-pursuit-crash-west-end-
        stolen-car-kennedy-heights-injury-cincinnati-local-12-wkrc-tristate-ohio-kentucky-
16      indiana-crime-news.
      152
          Police: 13-year-old driver crashes seriously injuring 12-year-old passenger, Local 12
17
        (last updated July 11, 2022, 11:40 PM), https://local12.com/news/local/police-13-year-
18      old-driver-crashes-seriously-injuring-12-year-old-passenger-cincinnati-ohio-dalton-
        avenue-crash-control-kia-rio-hospital-investigation-speed.
      153
19        Id.
      154
          James Pilcher, ‘Kia Boys’ stolen car trend hits one local woman who wonders if she’ll
20      ever get hers back, Local 12 (last updated Aug. 24, 2022, 4:00 AM),
        https://local12.com/news/local/kia-boys-stolen-car-trend-hits-one-local-woman-who-
21
        wonders-if-shell-ever-get-hers-back-cincinnati-ohio-avondale-forte-tiktok-thieves-car-
22      seat-trimaine-elliott.
      155
          Id.
23    156
          Jennifer Edwards Baker, Police chase ends in crash that closes W. North Bend Road,
        Fox 19 (last updated Feb. 8, 2023, 5:07 AM),
24      https://www.fox19.com/2023/02/08/police-chase-ends-crash-that-closes-w-north-bend-
        road/.
                                                  80
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 1    with temporary tags that was suspected to be stolen.157 Video surveillance of the incident

 2    captured the moment that one of the suspects began shooting out of the rear passenger

 3    window.

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      157
         Suspect Vehicle in Over-the-Rhine shooting found near Bond Hill, WLWT 5 (last
24     updated June 1, 2023, 5:12 PM), https://www.wlwt.com/article/over-the-rhine-shooting-
       grant-park-suspect-car-found/44067612.
                                                81
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 1          224. Then, on July 16, 2023, a 37-year-old woman was killed in a drive-by

 2    shooting involving a stolen Hyundai.158 The Cincinnati Police Department Homicide Unit

 3    is investigating the case.159

 4          F.      Lorain, Ohio

 5          225. The City of Lorain has experienced and continues to experience increased
 6    rates of theft of Hyundai and Kia vehicle thefts.
 7          226. The rise in the rate of theft of Hyundai and Kia vehicles in the City of Lorain
 8    noticeably increased in 2021 before reaching unprecedented heights in 2023.
 9          227. For all of 2023, the City of Lorain recorded approximately 66 thefts of
10    Hyundai and Kia vehicles. That is more than double the total Hyundai and Kia thefts
11    recorded for all of 2022 in the City of Lorain and a 633% increase from the 9 Hyundai
12    and Kia thefts recorded for all of 2020.
13          228. In 2020 and 2021, Hyundais and Kias, combined, accounted for only about
14    4.5% and 12%, respectively, of all vehicle thefts in the City of Lorain. For 2023, Hyundais

15    and Kias accounted for approximately 37% of all motor vehicle thefts in the City of
      Lorain.
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      158
          Mildred Fallen et al., Woman killed in another drive-by shooting in Cincinnati, Fox 19
23      Now (last updated July 17, 2023, 1:01 AM),
        https://www.fox19.com/2023/07/17/woman-killed-another-drive-by-shooting-
24      cincinnati/.
      159
          Id.
                                                  82
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 1          229. In 2024, Hyundai and Kia vehicles continued to account for an outsized

 2    portion of vehicle stolen in Lorain at over 62% of all motor vehicle thefts in the City of

 3    Lorain.

 4
                           Hyundai and Kia Thefts (Jan. 2020 - June 2025)
 5
 6        60
 7
          50
 8
 9        40
10
          30
11
12        20
13
          10
14
15         0
                  2020         2021         2022        2023        2024        2025
16

17                                          Hyundais     Kias
18
            230. The elevated rate of theft of Hyundai and Kia vehicles continues to impact
19
      Lorain to this day. So far, in 2025, Hyundai and Kia vehicles accounted for over 46% of
20
      all motor vehicle thefts in the City of Lorain.
21
            231. The high rate of thefts has led to increased threats to public safety. For
22
      example, when responding to incidents involving stolen Hyundais and Kias, officers with
23
      the Lorain Police Department have observed the stolen vehicles reach speeds of 90 miles
24

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 1    per hour as the drivers of the stolen vehicles run red lights and disobey traffic laws, which

 2    endangers officers and the residents of the City of Lorain.

 3          232. Stolen Hyundai and Kia vehicles have been linked to attempted robberies of

 4    businesses, including gun stores, in the City of Lorain.

 5          233. The increased theft of these vehicles and the crimes committed with them

 6    caused the Lorain Police Department to dedicate additional resources to combat the crime

 7    wave, including a street crime unit to prevent and deter thefts of these vehicles and a

 8    detective to investigate crimes when these vehicles are stolen.

 9          234. In June of 2023, the Lorain Police Department arrested 9 people in

10    connection with Kia and Hyundai car thefts—6 of whom were juveniles ranging in age

11    from 13 to 17 years old.160 Authorities stated that “the group was tied to roughly 50

12    attempted or successful vehicle thefts between May 6 and June 15” alone.161

13          235. These juveniles and others involved thefts of these vehicles are more likely

14    to commit crimes in the future. “[L]ongitudinal studies of delinquency and crime have

15    repeatedly documented a strong link between past and future behavior.”162 “Across

16    multiple data sources collected at different time periods and throughout the world, a

17    consistent finding indicates that antisocial and deviant behavior that emerges early in the

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20    160
          Tyler Carey, Lorain police arrest 3 adults, 6 juveniles in connection with Kia,
        Hyundai car theft ring, wkyc.com (last updated June 19, 2023, 6:46 PM),
21
        https://www.wkyc.com/article/news/local/lorain-county/lorain-police-arrest-9-kia-
22      hyundai-car-theft-ring/95-fd21ab08-e885-49bf-b771-ea6f1e1f71f5.
      161
          Id.
23    162
          See Mark A. Cohen & Alex R. Piquero, New Evidence on the Monetary Value of
        Saving a High Risk Youth, 25(1) J. Quantitative Criminology 25–49, at 2 (2009),
24      https://www.researchgate.net/publication/225637886_New_Evidence_on_the_Monetary
        _Value_of_Saving_a_High_Risk_Youth.
                                                  84
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 1    life course tends to continue into childhood, adolescence, and adulthood[.]”163 The point,

 2    to put it bluntly, is that these Susceptible Vehicles can set juveniles down a path of crime.

 3             236. By failing to equip their vehicles with reasonable anti-theft technology, such

 4    as an engine immobilizer, Defendants have elected profits over safety and created a public

 5    nuisance in the City of Lorain that continues to this day.

 6             G.       Parma, Ohio

 7             237. The City of Parma has experienced a similar surge in thefts of Hyundai and

 8    Kia vehicles. Between 2021 and 2022, the number of Kia vehicles stolen in the City of

 9    Parma increased by more than 414% and thefts of Hyundai vehicles increased by more

10    than 416%. The rash of thefts has continued at a similar pace in 2023.

11             238. The combined number of Hyundai and Kia vehicle thefts in 2022 more than

12    quintupled the number of thefts of those same vehicles in 2021. As thefts of these vehicles

13    increased, so too did the number of times officers had to pursue Hyundai and Kia vehicles,

14    which suggests these vehicles were being used to commit other crimes or otherwise

15    endangered the public (e.g., being driven recklessly).

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      163
            Id. at 4.
                                                   85
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 1
                                 Hyundai and Kia Thefts Over Time
 2                                    Jan. 2022 - May 2025

 3      60

 4      50

 5      40


 6      30

        20
 7
        10
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         0
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10
                                          Hyundai Thefts   Kia Thefts
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             239. From January to June 2023, 24 Hyundai and Kia vehicles were stolen—more
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      than the total Hyundai and Kia vehicle thefts for all of 2020 and, also, for all of 2021,
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      combined.
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             240. The surge in thefts caused Parma law enforcement officers to spend more and
15
      more of their time responding to stolen Hyundai and Kia vehicles. In 2022, officers were
16
      on scene responding to stolen Hyundai and Kia vehicles for more than 20,000 minutes.
17
      This near ten-fold increase since 2020 has placed a tremendous strain on Parma’s Uniform
18
      Patrol Division, whose time has been diverted from other important duties, not to mention
19
      the time other divisions spend investigating and prosecuting these crimes.
20
             241. From January to April 2023, Parma officers spent more time responding to
21
      reports of stolen Hyundai and Kia vehicles than they did in all of 2020.
22
             242. Thefts of Hyundai and Kia vehicles in Parma have led to extreme driving
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      with disastrous consequences.
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 1          243. For example, a 14-year-old driving a stolen Kia Optima led Parma officers

 2    on a high-speed pursuit in the early morning hours of October 2, 2022. The vehicle

 3    eventually crashed into an apartment building, causing damage to its foundation, and

 4    disabling the vehicle.

 5          244. On November 6, 2022, Parma officers were forced to pursue a stolen Kia

 6    Forte traveling over 100 miles per hour, including in a 25 miles per hour zone. The stolen

 7    Kia almost struck another vehicle and crashed through a construction cone before officers

 8    were able to stop the vehicle. The three juveniles inside the stolen Kia were taken into

 9    custody.

10          245. In December 2022, a 17-year-old male in a stolen Hyundai Elantra led Parma

11    police on a high-speed pursuit. The driver of the stolen Hyundai ran multiple stop signs

12    and reached speeds of 80–90 miles per hour before crashing into a home just outside

13    Parma city limits.164 A 25-year-old woman and her infant were inside the home during the

14    crash and, fortunately, neither was injured. The driver of the stolen vehicle sustained head

15    injuries and was transported to the hospital. The Hyundai vehicle was towed back to

16    Parma.

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23    164
         Photos: Car slams into Cleveland home following stolen vehicle pursuit, WKYC.com
       (last updated Dec. 13, 2022, 7:08 PM),
24     https://www.wkyc.com/article/news/local/cleveland/car-slams-into-cleveland-home-
       pictures/95-1198fbd5-86a0-499b-a32a-fafe1437c292.
                                              87
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11           246. In mid-January 2023, four teenagers in a stolen Hyundai Elantra attempted
12    to elude police before crashing into a utility pole in Parma.165 Three of the individuals
13    apprehended were between the ages of 17 and 19. Officers also observed a Kia SUV that
14    had been reported stolen, but the driver of the car was able to get away. Prior to the police
15    chase, officers observed a group of individuals in the stolen Kia trying to steal another
16    vehicle in an apartment complex.166
17
            CLAIMS UNDER OHIO LAW BROUGHT BY THE CITY OF COLUMBUS
18           247. The City of Columbus, acting separately from the Cities of Cleveland,
19    Cincinnati, Parma, and Lorain brings the following claim for statutory public nuisance.
20

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      165
          Anna Meyer & Bri Buckley, 4 teenagers taken into custody after crashing stolen
23      Hyundai into pole in Cleveland, WKYC.com (last updated Jan. 18, 2023, 11:22 PM),
        https://www.wkyc.com/article/news/local/cuyahoga-county/teenagers-crash-stolen-
24      hyundai-cleveland/95-7ab0ff03-3d0e-475e-a26b-7521e3103aa8.
      166
          Id.
                                               88
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 1           248. The City of Columbus re-alleges each of the allegations in the foregoing

 2    paragraphs as if fully restated herein.

 3           249. Under Section 715.44 of the Ohio Revised Code, the City of Columbus may

 4    “[a]bate any nuisance and prosecute in any court of competent jurisdiction, any person

 5    who creates, continues, contributes to, or suffers such nuisance to exist” and to “[p]revent

 6    injury and annoyance from any nuisance.”167

 7           250. Separately, under Title 7 of the Columbus City Codes, the “Heath, Sanitation

 8    and Safety Code,” a “public nuisance” includes any unsafe vehicle that is “detrimental to

 9    the public health, safety, and welfare. . . .”168

10           251. Kia and Hyundai have designed, manufactured, marketed, sold, and

11    distributed unsafe vehicles leading to an unprecedented surge in auto-theft and related

12    harm in the City of Columbus.

13           252. When “there are reasonable grounds to believe that there is a violation of this

14    Health, Sanitation and Safety Code resulting in the existence of an actual or potential

15    public nuisance” or “whenever there exist conditions that adversely affect the health,

16    safety or welfare of any person,” Columbus may seek legal relief in court.169

17           253. This “public nuisance” is a substantial factor and the factual and proximate

18    cause of the long-lasting damages incurred (and continue to be incurred) by the City of

19    Columbus that is unique to itself and different in kind and degree from those incurred by

20    the general public, including dramatically-increased expenditures for police, emergency,

21    health, prosecutions, corrections, youth rehabilitative services, and other services that

22    were beyond the expenses otherwise reasonably expected to occur in the ordinary course.

23
      167
          Ohio Rev. Code Ann. § 715.44 (West 2024).
24    168
          Columbus City Code 703.17; 703.17(A).
      169
          Columbus City Code 701.19.
                                              89
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 1          254. Kia and Hyundai should also be enjoined from continuing these nuisances

 2    and be compelled to abate them.

 3       CLAIMS UNDER OHIO LAW BROUGHT BY THE CITY OF CINCINNATI

 4          255. The City of Cincinnati, acting separately from the Cities of Cleveland,
 5    Columbus, Parma, and Lorain, brings the following claim for statutory public nuisance.
 6
            256. The City of Cincinnati realleges and incorporates paragraphs 1 through 246
 7
      as though set forth fully herein.
 8
            257. Under Section 1601-99 of the Cincinnati Municipal Code, “[w]henever there
 9

10    exists a public nuisance; a condition or action that adversely affects the health, safety, or

11    welfare of any person,” the City of Cincinnati “may recover the total cost associated with

12    obtaining compliance” or “abating the condition” by “[o]btain[ing] a judgment from the
13    responsible party, property owner, or person in control of the benefitted property at the
14
      time the costs were incurred through a civil action.”
15
            258. “Total cost” is defined by Section 1601-99(b)(3) to include, among other
16
      things, “any costs related to the use of employees, materials, or equipment of the City” and
17

18    “any costs of police, fire, and medical services provided to respond, abate, prosecute,

19    litigate, obtain compliance, or enforce” the City’s public nuisance ordinance.

20          259. Under Section 1601-99(b)(1) of the Cincinnati Municipal Code, “public
21
      nuisance” includes any “vehicle[s]” that are “dangerous, hazardous…unsafe… [or]
22
      detrimental to the public health, safety, and welfare, or well-being of the surrounding
23
      area[.]”
24

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 1          260. Under Section 1601-99(b)(2) of the Cincinnati Municipal Code, “responsible

 2    party” is defied to include any “corporation” that is “responsible for the creation, existence,
 3
      commission, and/or maintenance of a condition or action that adversely affects the health,
 4
      safety, or welfare of any person.”
 5
            261. Defendants are corporations within the meaning of Section 1601-99(b)(2).
 6
            262. Defendants have intentionally and willfully designed, manufactured,
 7

 8    marketed, sold, and distributed vehicles that are dangerous, hazardous, and unsafe, and

 9    they are responsible for the creation and existence of the conditions that threaten public
10    safety in the City of Cincinnati.
11
            263. Defendants are responsible for the creation and existence of a “public
12
      nuisance” within the meaning of Section 1601-99 of the Cincinnati Municipal Code.
13
            264. The “public nuisance” created by Defendants is a substantial factor and the
14
15    factual and proximate cause of the damages that have been incurred (and continue to be

16    incurred) by the City of Cincinnati.

17          265. The damages that have been (and continue to be incurred) by the City of
18
      Cincinnati are unique to itself and different in kind and degree from those that may have
19
      been incurred by the general public, including but not limited to dramatically increased
20
      expenditures for police, health, emergency, health, corrections, youth rehabilitative
21
      services, and other services that were beyond the expenses reasonably expected to occur in
22

23    the ordinary course.

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 1          266. Under Section 1501-27(a), civil proceedings may be brought in the name of

 2    the City of Cincinnati for violations of the Cincinnati Municipal code, including those that
 3
      adversely affect the health, safety, or welfare of the public.
 4
            267. Defendants should be enjoyed from continuing the public nuisance that they
 5
      have created within the meaning of Section 1601-99(b)(1) and be compelled to abate such
 6
      nuisance.
 7

 8          268. Section 1501-27(d) authorizes treble damages and costs to be awarded for any

 9    injury damages suffered by the City of Cincinnati that are a consequence of a willful
10    violation, failure, or omission.
11
            269. The public nuisance created by Defendants stems from their intentional and
12
      willful decision to omit engine immobilizers and other reasonable antitheft technology in
13
      the Susceptible Vehicles. Accordingly, the Court should award Cincinnati treble damages
14
15    and costs under Section 1501-27(d).

16          CLAIMS UNDER OHIO LAW BROUGHT BY THE CITY OF LORAIN

17          270. The City of Lorain, acting separately from the Cities of Cleveland, Cincinnati,
18    Columbus, Parma, and Lorain, brings the following claim for statutory public nuisance.
19
            271. The City of Lorain realleges and incorporates paragraphs 1 through 246 as
20
      though set forth fully herein.
21
            272. Under Chapter 560.01(a) of the Codified Ordinances of the City of Lorain,
22

23    “the City may recover the total cost associated with . . . abating” a public nuisance by

24    “[o]btaining a judgment through a civil action” from a “responsible party.”

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 1          273. “Total cost” is defined by Chapter 560.01(b)(2) to include, among other

 2    things, “any costs related to the use of employees, materials of the City” and “any costs of
 3
      police, fire, and medical services provided to respond, abate, prosecute, litigate, obtain
 4
      compliance, or enforce” the City’s public nuisance ordinance.
 5
            274. Under Chapter 560.01(b)(1), “public nuisance” is defined to include “any . . .
 6
      vehicle . . . which is dangerous, hazardous, . . . unsafe, . . . [or] detrimental to the public
 7

 8    health, safety, and welfare, or well-being of the surrounding area[.]”

 9          275. Under Chapter 560.01(b)(2), “responsible party” is defined to include any
10    “corporation” that is “responsible for the creation, existence, commission, and/or
11
      maintenance of a condition or action that adversely affects the health, safety, or welfare of
12
      any person[.]”
13
            276. Defendants are corporations within the meaning of Chapter 560.01(b)(2).
14
15          277. Defendants have intentionally and willfully designed, manufactured,

16    marketed, sold, and distributed vehicles that are dangerous, hazardous, and unsafe and are

17    responsible for the creation and existence of the conditions that threaten public safety in
18
      the City of Lorain.
19
            278. Defendants are responsible for the creation and existence of a “public
20
      nuisance” within the meaning of Chapter 560.01(b) of the Codified Ordinances of the City
21
      of Lorain
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 1          279. That “public nuisance” was a substantial factor and the factual and proximate

 2    cause of the damages that have been incurred (and continue to be incurred) by the City of
 3
      Lorain.
 4
            280. The damages that have been (and continue to be incurred) by the City of
 5
      Lorain are unique to itself and are different in kind and degree from those that may have
 6
      been incurred by the general public, including but not limited to dramatically increased
 7

 8    expenditures for police, health, emergency, health, corrections, youth rehabilitative

 9    services, and other services that were beyond the expenses reasonably expected to occur in
10    the ordinary course.
11
            281. Under Chapter 560.03, civil proceedings may be brought in the name of the
12
      City of Lorain for violations of the Lorain Codified Ordinances, including those that
13
      adversely affect the health, safety, or welfare of the public.
14
15          282. Kia and Hyundai should be enjoined from continuing the public nuisance that

16    they have created within the meaning of Chapter 560.01(b)(1) and should be compelled to

17    abate such nuisance.
18
            283. Chapter 560.03(d) authorizes treble damages and costs to be awarded for any
19
      injury damages suffered by the City of Lorain that are a consequence of a willful violation,
20
      failure, or omission.
21
            284. The public nuisance created by Defendants stems from their intentional and
22

23    willful decision to omit engine immobilizers and other reasonable antitheft technology in

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 1    the Susceptible Vehicles. Accordingly, the Court should award Lorain treble damages and

 2    costs under Chapter 560.03(d).
 3
                              COUNT THREE — CIVIL LIABILITY
 4          285. The City of Columbus, acting separately from the Cities of Cleveland,
 5    Cincinnati, Parma, and Lorain bring the following claim for civil liability.
 6          286. The City of Columbus re-alleges each of the allegations in the foregoing
 7    paragraphs as if fully restated herein.
 8          287. Section 2307.60(A)(1) of the Ohio Revised Code provides that anyone
 9    injured in person or property by a criminal act may recover full damages in a civil action.
10    170

11          288. The City of Columbus is a “person” under this statute.
12          289. A violation of Columbus’ “Heath, Sanitation and Safety Code” is a first-
13    degree criminal misdemeanor.171
14          290. Any penalty for this criminal misdemeanor is “in addition to and separate
15    from any civil or administrative penalties or remedies provided for by this code or pursuant
16    to Ohio law” in addition to any other remedy available by law.172
17          291. Defendants, in creating, contributing to, and suffering a “public nuisance”
18    have committed first degree criminal misdemeanors.173
19          292. This “public nuisance” of unsafe vehicles was a substantial factor and the
20    factual and proximate cause of the long-lasting damages incurred (and continue to be
21    incurred) by the City of Columbus that are unique to itself and different in kind from those
22

23    170
          Ohio Rev. Code Ann. § 2307.60(A)(1) (West 2008).
      171
          Columbus City Code 701.99(A).
24    172
          Id.; see also id. at (D).
      173
          Columbus City Code 703.17(A).
                                               95
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 1    incurred by the general public, including dramatically-increased expenditures for police,

 2    emergency, health, prosecutions, corrections, youth rehabilitative services, and other

 3    services that were beyond the expenses otherwise reasonably expected to occur in the

 4    ordinary course.

 5                                   PRAYER FOR RELIEF

 6          293. Entering an Order that Defendants are jointly and severally liable;

 7          294. Entering an Order requiring Defendants to abate the public nuisance

 8    described herein and to deter and/or prevent the resumption of such nuisance;

 9          295. Enjoining Defendants from engaging in further actions causing or

10    contributing to the public nuisance as described herein;

11          296. Awarding equitable relief to fund automobile theft prevention;

12          297. Awarding actual and compensatory damages;

13          298. Awarding treble damages and costs.

14          299. Awarding punitive damages;

15          300. Awarding reasonable attorneys’ fees and costs of suit;

16          301. Awarding pre-judgment and post-judgment interest; and

17          302. Awarding such other and further relief as the Court deems just and proper

18    under the circumstances.

19                                DEMAND FOR JURY TRIAL

20          303. The Ohio GE Plaintiffs hereby demand a trial by jury.

21

22    RESPECTFULLY SUBMITTED this 1st DAY OF JULY, 2025.

23
      By /s/ Gretchen Freeman Cappio
24    Gretchen Freeman Cappio (pro hac vice)
      KELLER ROHRBACK L.L.P.
                                                 96
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                                        ID #:26092



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 1                                  CERTIFICATE OF SERVICE

 2             I certify that on July 1, 2025, I electronically filed the foregoing document with
 3    the Clerk of the Court using the CM/ECF system which will send notification of such

 4    filing to all counsel of record.

 5
                                                /s/ Gretchen Freeman Cappio
 6                                              Gretchen Freeman Cappio
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